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                          EXHIBIT A
                                          Case:
                      Return Date: No return     1:18-cv-05165
                                              date scheduled   Document          12-Person
                                                                                 #: 1-2 Filed:Jury
                                                                                               07/30/18 Page 2 of 108 PageID #:11
                      Hearing Date: 11/16/2018 10:00 AM - 10:00 AM
                      Courtroom Number: 2302
                      Location: District 1 Court                                                                        FILED
                              Cook County, IL                                                                           7/19/2018 1:42 PM
                                                          IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                 DOROTHY BROWN
                                                                                                                        CIRCUIT CLERK
                                                             COUNTY DEPARTMENT – CHANCERY DIVISION
                                                                                                                        COOK COUNTY, IL
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                                                                                                                        2018CH09060
                                            ERIK LUNA, individually, and on behalf of all    )
                                            others similarly situated,                       )
                                                                                             )
                                                                         Plaintiff,          )
                                                                                             )
                                                    v.                                       )   Case No. 2018CH09060
                                                                                             )
                                            4C KINZIE INVESTOR LLC d/b/a Highline            )
                                            Bar & Lounge,                                    )
                                            1001 W. LAKE OPCO, LLC d/b/a Federales,          )
                                            4C 1001 W. LAKE OPCO, LLC,                       )
                                            4C 15 E. ILLINOIS OPERATIONS, LLC d/b/a )
                                            Fremont Bar,                                     )
                                            FOUR CORNERS TAVERN FUND                         )
                                            MANAGEMENT, LLC,                                 )
                                            1500 N. WELLS OPCO, LLC d/b/a 80 Proof           )
                                            f/k/a SteakBar,                                  )
                                            4C 1500 N. WELLS OPCO, LLC,                      )
                                            TALBOTT ASSOCIATES, L.P. d/b/a 20                )
                                            EAST,                                            )
                                            4C WRIGLEY, LLC d/b/a Brickhouse Tavern,         )
                                            KEYSTONE HOLDINGS CORP.,                         )
                                            4C RIVERSIDE, LLC d/b/a Porter Kitchen &         )
                                            Deck,                                            )
                                            CHEVAL PORTER MANAGER, LLC,                      )
                                            WELLS HOLDINGS, LLC d/b/a Benchmark              )
                                            Bar and Grill,                                   )
                                            WELLS HOLDINGS MANAGER, LLC,                     )
                                            WEST LOOP TAP, L.L.C. d/b/a Westend Bar          )
                                            & Grill f/k/a Brownstone Tavern & Grill          )
                                            (Madison and Ada),                               )
                                            SHEF AT OAK, INC. d/b/a Kirkwood Bar &           )
                                            Grill f/k/a Brownstone Tavern & Grill (Sheffield )
                                            and Oakdale),                                    )
                                            RIVER NORTH TAP, INC. d/b/a Sidebar              )
                                            Grille,                                          )
                                            ROCCO’S, LLC d/b/a Ranalli’s,                    )
                                            CLARK STREET RESTAURANT                          )
                                            PARTNERS, LLC f/k/a 2450 N. Clark, Inc.          )
                                            d/b/a Gaslight,                                  )
                                            ASCLOSE, INC. d/b/a Schoolyard Tavern &          )
                                            Grill,                                           )
                                                                                             )   Jury Trial Demanded
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                                            THE CHASE TAVERN, INC. d/b/a Trellis         )
                                            Wine Bar,                                    )
                                            SALOON HOLDINGS, LLC d/b/a The               )
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                                            Crossing Tavern,                             )
                                            SALOON HOLDINGS MANAGER, LLC,                )
                                            HARDTALES, INC. d/b/a Brownstone Tavern      )
                                            & Grill (Lincoln and Irving Park),           )
                                            FOUR CORNERS, a voluntary unincorporated     )
                                            association,                                 )
                                            FOUR CORNERS TAVERN FUND I, LLC,             )
                                            FOUR CORNERS TAVERN GROUP FUND               )
                                            INVESTOR, LLC,                               )
                                            FOUR CORNERS TAVERN PARTNERS,                )
                                            LLC,                                         )
                                            FOUR CORNERS TAVERN GROUP INC.,              )
                                            FOUR CORNERS HOLDINGS, LLC,                  )
                                            FOUR CORNERS CAPITAL ADVISORS,               )
                                            LLC,                                         )
                                            FOUR CORNERS SHUTTLE, LLC,                   )
                                            4C CHEVAL LLC,                               )
                                            1001 W. LAKE, LLC,                           )
                                            MATTHEW MENNA, and                           )
                                            ANDREW GLOOR,                                )
                                                                                         )
                                                                         Defendants.     )




                                                     COLLECTIVE AND CLASS ACTION COMPLAINT



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                                            Collective Group, and the putative Classes
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                                                   Representative Plaintiff Erik Luna (“Plaintiff”), individually, and on behalf of all others

                                            similarly situated, by and through counsel, brings this action against Defendants 4C Kinzie
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                                            Investor LLC d/b/a Highline Bar & Lounge, 1001 W. Lake Opco, LLC d/b/a Federales, 4C 1001

                                            W. Lake Opco, LLC, 4C 15 E. Illinois Operations, LLC d/b/a Fremont Bar, Four Corners Tavern

                                            Fund Management, LLC, 1500 N. Wells Opco, LLC d/b/a 80 Proof f/k/a SteakBar, 4C 1500 N.

                                            Wells Opco, LLC, Talbott Associates, L.P. d/b/a 20 East, 4C Wrigley, LLC d/b/a Brickhouse

                                            Tavern, Keystone Holdings Corp., 4C Riverside, LLC d/b/a Porter Kitchen & Deck, Cheval

                                            Porter Manager, LLC, Wells Holdings, LLC d/b/a Benchmark Bar and Grill, Wells Holdings

                                            Manager, LLC, West Loop Tap, L.L.C. d/b/a Westend Bar & Grill f/k/a Brownstone Tavern &

                                            Grill (Madison and Ada), Shef at Oak, Inc. d/b/a Kirkwood Bar & Grill f/k/a Brownstone Tavern

                                            & Grill (Sheffield and Oakdale), River North Tap, Inc. d/b/a Sidebar Grille, Rocco’s, LLC d/b/a

                                            Ranalli’s, Clark Street Restaurant Partners, LLC f/k/a 2450 N. Clark, Inc. d/b/a Gaslight,

                                            Asclose, Inc. d/b/a Schoolyard Tavern & Grill, The Chase Tavern, Inc. d/b/a Trellis Wine Bar,

                                            Saloon Holdings, LLC d/b/a The Crossing Tavern, Saloon Holdings Manager, LLC, Hardtales,

                                            Inc. d/b/a Brownstone Tavern & Grill (Lincoln and Irving Park), a voluntary unincorporated

                                            association known as Four Corners, Four Corners Tavern Fund I, LLC, Four Corners Tavern

                                            Group Fund Investor, LLC, Four Corners Tavern Partners, LLC, Four Corners Tavern Group

                                            Inc., Four Corners Holdings, LLC, Four Corners Capital Advisors, LLC, Four Corners Shuttle,

                                            LLC, 4C Cheval LLC, 1001 W. Lake, LLC, Matthew Menna, and Andrew Gloor (collectively,

                                            “Defendants”), as follows:

                                                                                 THE DEFENDANTS

                                                   1.     Defendant 4C Kinzie Investor LLC is an Illinois limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607.     4C

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                                            Kinzie Investor LLC does business as Highline Bar & Lounge, located at 169 West Kinzie Street,

                                            Chicago, Illinois 60654. 4C Kinzie Investor LLC employs, and controls the payment of wages
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                                            to, bartenders and waiters who serve food and drinks (collectively, “Servers”) to Highline Bar &

                                            Lounge’s customers. As such, 4C Kinzie Investor LLC is an “employer” of the Servers at

                                            Highline Bar & Lounge as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820

                                            ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship between 4C

                                            Kinzie Investor LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   2.     Defendant 1001 W. Lake Opco, LLC is a Delaware limited liability company with

                                            its principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607.

                                            1001 W. Lake Opco, LLC does business as Federales, located at 180 North Morgan Street,

                                            Chicago, Illinois 60607. 1001 W. Lake Opco, LLC employs, and controls the payment of wages

                                            to, Servers who serve food and drinks to Federales’s customers. As such, 1001 W. Lake Opco,

                                            LLC is an “employer” of the Servers at Federales as that term is defined by 29 U.S.C. § 203(d),

                                            820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment”

                                            relationship between 1001 W. Lake Opco, LLC and those Servers as defined by 26 U.S.C. §

                                            3121(b).

                                                   3.     Defendant 4C 1001 W. Lake Opco, LLC is a Delaware limited liability company

                                            with its principal place of business located at 1330 West Fulton Street, Chicago, Illinois 60607.

                                            4C 1001 W. Lake Opco, LLC is the manager of Defendant 1001 W. Lake Opco, LLC. Through

                                            1001 W. Lake Opco, LLC, 4C 1001 W. Lake Opco, LLC employs, and controls the payment of

                                            wages to, Servers who serve food and drinks to Federales’s customers. As such, 4C 1001 W.

                                            Lake Opco, LLC is an “employer” of the Servers at Federales as that term is defined by 29

                                            U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an

                                                                                           2
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                                            “employment” relationship between 4C 1001 W. Lake Opco, LLC and those Servers as defined

                                            by 26 U.S.C. § 3121(b).
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                                                   4.     Defendant 4C 15 E. Illinois Operations, LLC is an Illinois limited liability

                                            company with its principal place of business located at 1040 West Randolph Street, Chicago,

                                            Illinois 60607. 4C 15 E. Illinois Operations, LLC does business as Fremont Bar, located at 15

                                            West Illinois Street, Chicago, Illinois 60654. 4C 15 E. Illinois Operations, LLC employs, and

                                            controls the payment of wages to, Servers who serve food and drinks to Fremont Bar’s

                                            customers. As such, 4C 15 E. Illinois Operations, LLC is an “employer” of the Servers at

                                            Fremont Bar as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2,

                                            and 26 U.S.C. § 3401(d), and there is an “employment” relationship between 4C 15 E. Illinois

                                            Operations, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   5.     Defendant Four Corners Tavern Fund Management, LLC is a Delaware limited

                                            liability company with its principal place of business located at 1040 West Randolph Street,

                                            Chicago, Illinois 60607.   Four Corners Tavern Fund Management, LLC is the manager of

                                            Defendant 4C 15 E. Illinois Operations, LLC. Through 4C 15 E. Illinois Operations, LLC, Four

                                            Corners Tavern Fund Management, LLC employs, and controls the payment of wages to, Servers

                                            who serve food and drinks to Fremont Bar’s customers. As such, Four Corners Tavern Fund

                                            Management, LLC is an “employer” of the Servers at Fremont Bar as that term is defined by 29

                                            U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an

                                            “employment” relationship between Four Corners Tavern Fund Management, LLC and those

                                            Servers as defined by 26 U.S.C. § 3121(b).

                                                   6.     Defendant 1500 N. Wells Opco, LLC is a Delaware limited liability company

                                            with its principal place of business located at 1040 West Randolph Street, Chicago, Illinois

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                                            60607. 1500 N. Wells Opco, LLC does business as 80 Proof, located at 1500 North Wells Street

                                            Chicago, IL 60610. 1500 N. Wells Opco, LLC employs, and controls the payment of wages to,
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                                            Servers who serve food and drinks to 80 Proof’s customers. As such, 1500 N. Wells Opco, LLC

                                            is an “employer” of the Servers at 80 Proof as that term is defined by 29 U.S.C. § 203(d), 820

                                            ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment”

                                            relationship between 1500 N. Wells Opco, LLC and those Servers as defined by 26 U.S.C. §

                                            3121(b).

                                                   7.     Defendant 4C 1500 N. Wells Opco, LLC is a Delaware limited liability company

                                            with its principal place of business located at 1040 West Randolph Street, Chicago, Illinois

                                            60607. 4C 1500 N. Wells Opco, LLC is the manager of Defendant 1500 N. Wells Opco, LLC.

                                            Through 1500 N. Wells Opco, LLC, 4C 1500 N. Wells Opco, LLC employs, and controls the

                                            payment of wages to, Servers who serve food and drinks to 80 Proof’s customers. As such, 4C

                                            1500 N. Wells Opco, LLC is an “employer” of the Servers at 80 Proof as that term is defined by

                                            29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is

                                            an “employment” relationship between 4C 1500 N. Wells Opco, LLC and those Servers as

                                            defined by 26 U.S.C. § 3121(b). Prior to being known as 80 Proof, this bar and restaurant was

                                            known as SteakBar.

                                                   8.     Defendant Talbott Associates, L.P. is an Illinois limited partnership with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607.

                                            Talbott Associates, L.P. does business as 20 East, located at 20 East Delaware Place, Chicago,

                                            Illinois 60611. Talbott Associates, L.P. employs, and controls the payment of wages to, Servers

                                            who serve food and drinks to 20 East’s customers. As such, Talbott Associates, L.P. is an

                                            “employer” of the Servers at 20 East as that term is defined by 29 U.S.C. § 203(d), 820 ILCS

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                                            105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship

                                            between Talbott Associates, L.P. and those Servers as defined by 26 U.S.C. § 3121(b).
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                                                   9.     Defendant 4C Wrigley, LLC is a Delaware limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. 4C

                                            Wrigley, LLC does business as Brickhouse Tavern, located at 3647 North Clark Street, Chicago,

                                            Illinois 60613. 4C Wrigley, LLC employs, and controls the payment of wages to, Servers who

                                            serve food and drinks to Brickhouse Tavern’s customers. As such, 4C Wrigley, LLC is an

                                            “employer” of the Servers at Brickhouse Tavern as that term is defined by 29 U.S.C. § 203(d),

                                            820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment”

                                            relationship between 4C Wrigley, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   10.    Defendant Keystone Holdings Corp. is an Illinois corporation with its principal

                                            place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. Keystone

                                            Holdings Corp. is the manager of Defendant 4C Wrigley, LLC. Through 4C Wrigley, LLC,

                                            Keystone Holdings Corp. employs, and controls the payment of wages to, Servers who serve

                                            food and drinks to Brickhouse Tavern’s customers. As such, Keystone Holdings Corp. is an

                                            “employer” of the Servers at Brickhouse Tavern as that term is defined by 29 U.S.C. § 203(d),

                                            820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment”

                                            relationship between Keystone Holdings Corp. and those Servers as defined by 26 U.S.C. §

                                            3121(b).

                                                   11.    Defendant 4C Riverside, LLC is a Delaware limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. 4C

                                            Riverside, LLC does business as Porter Kitchen & Deck, located at 150 North Riverside Plaza,

                                            Chicago, Illinois 60606. 4C Riverside, LLC employs, and controls the payment of wages to,

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                                            Servers who serve food and drinks to Porter Kitchen & Deck’s customers. As such, 4C

                                            Riverside, LLC is an “employer” of the Servers at Porter Kitchen & Deck as that term is defined
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                                            by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there

                                            is an “employment” relationship between 4C Riverside, LLC and those Servers as defined by 26

                                            U.S.C. § 3121(b).

                                                   12.    Defendant Cheval Porter Manager, LLC is a Delaware limited liability company

                                            with its principal place of business located at 1040 West Randolph Street, Chicago, Illinois

                                            60607. Cheval Porter Manager, LLC is the manager of Defendant 4C Riverside, LLC. Through

                                            4C Riverside, LLC, Cheval Porter Manager, LLC employs, and controls the payment of wages

                                            to, Servers who serve food and drinks to Porter Kitchen & Deck’s customers. As such, Cheval

                                            Porter Manager, LLC is an “employer” of the Servers at Porter Kitchen & Deck as that term is

                                            defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d),

                                            and there is an “employment” relationship between Cheval Porter Manager, LLC and those

                                            Servers as defined by 26 U.S.C. § 3121(b).

                                                   13.    Defendant Wells Holdings, LLC is an Illinois limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. Wells

                                            Holdings, LLC does business as Benchmark Bar and Grill, located at 1510 North Wells Street,

                                            Chicago, Illinois 60610. Wells Holdings, LLC employs, and controls the payment of wages to,

                                            Servers who serve food and drinks to Benchmark Bar and Grill’s customers. As such, Wells

                                            Holdings, LLC is an “employer” of the Servers at Benchmark Bar and Grill as that term is

                                            defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d),

                                            and there is an “employment” relationship between Wells Holdings, LLC and those Servers as

                                            defined by 26 U.S.C. § 3121(b).

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                                                   14.    Defendant Wells Holding Manager, LLC is an Illinois limited liability company

                                            with its principal place of business located at 1040 West Randolph Street, Chicago, Illinois
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                                            60607. Wells Holding Manager, LLC is the manager of Defendant Wells Holdings, LLC.

                                            Through Wells Holdings, LLC, Wells Holding Manager, LLC employs, and controls the

                                            payment of wages to, Servers who serve food and drinks to Benchmark Bar and Grill’s

                                            customers.   As such, Wells Holding Manager, LLC is an “employer” of the Servers at

                                            Benchmark Bar and Grill as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820

                                            ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship between Wells

                                            Holding Manager, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   15.    Defendant West Loop Tap, L.L.C. is an Illinois limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. West

                                            Loop Tap, L.L.C. does business as Westend Bar & Grill, located at 1326 West Madison Street

                                            Chicago, Illinois 60607. West Loop Tap, L.L.C. employs, and controls the payment of wages to,

                                            Servers who serve food and drinks to Westend Bar & Grill’s customers. As such, West Loop

                                            Tap, L.L.C. is an “employer” of the Servers at Westend Bar & Grill as that term is defined by 29

                                            U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an

                                            “employment” relationship between West Loop Tap, L.L.C. and those Servers as defined by 26

                                            U.S.C. § 3121(b). Prior to being known as Westend Bar & Grill, this bar and restaurant was

                                            known as Brownstone Tavern & Grill (Madison and Ada).

                                                   16.    Defendant Shef at Oak, Inc. is an Illinois corporation with its principal place of

                                            business located at 1040 West Randolph Street, Chicago, Illinois 60607. Shef at Oak, Inc. does

                                            business as Kirkwood Bar & Grill, located at 2934 North Sheffield Avenue, Chicago, Illinois

                                            60657. Shef at Oak, Inc. employs, and controls the payment of wages to, Servers who serve food

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                                            and drinks to Kirkwood Bar & Grill’s customers. As such, Shef at Oak, Inc. is an “employer” of

                                            the Servers at Kirkwood Bar & Grill as that term is defined by 29 U.S.C. § 203(d), 820 ILCS
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                                            105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship

                                            between Shef at Oak, Inc and those Servers as defined by 26 U.S.C. § 3121(b). Prior to being

                                            known as Kirkwood Bar & Grill, this bar and restaurant was known as Brownstone Tavern &

                                            Grill (Sheffield and Oakdale).

                                                   17.     Defendant River North Tap, Inc. is an Illinois corporation with its principal place

                                            of business located at 1040 West Randolph Street, Chicago, Illinois 60607. River North Tap, Inc.

                                            does business as Sidebar Grille, located at 221 North LaSalle Street, Chicago, Illinois 60601.

                                            River North Tap, Inc. employs, and controls the payment of wages to, Servers who serve food

                                            and drinks to Sidebar Grille’s customers. As such, River North Tap, Inc. is an “employer” of the

                                            Servers at Sidebar Grille as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820

                                            ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship between River

                                            North Tap, Inc. and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   18.     Defendant Rocco’s, LLC is an Illinois limited liability company with its principal

                                            place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. Rocco’s, LLC

                                            does business as Ranalli’s, located at 1925 North Lincoln Avenue, Chicago, Illinois, 60614.

                                            Rocco’s, LLC employs, and controls the payment of wages to, Servers who serve food and

                                            drinks to Ranalli’s’s customers. As such, Rocco’s, LLC is an “employer” of the Servers at

                                            Ranalli’s as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and

                                            26 U.S.C. § 3401(d), and there is an “employment” relationship between Rocco’s, LLC and

                                            those Servers as defined by 26 U.S.C. § 3121(b).



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                                                   19.     Defendant Clark Street Restaurant Partners, LLC is an Illinois limited liability

                                            company with its principal place of business located at 1040 West Randolph Street, Chicago,
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                                            Illinois 60607. Clark Street Restaurant Partners, LLC does business as Gaslight, located at 2450

                                            North Clark Street, Chicago, Illinois 60614. Clark Street Restaurant Partners, LLC employs, and

                                            controls the payment of wages to, Servers who serve food and drinks to Gaslight’s customers.

                                            As such, Clark Street Restaurant Partners, LLC is an “employer” of the Servers at Gaslight as

                                            that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. §

                                            3401(d), and there is an “employment” relationship between Clark Street Restaurant Partners,

                                            LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   20.     Until approximately June 13, 2018, 2450 N. Clark, Inc. was an Illinois

                                            corporation with its principal place of business located at 1040 West Randolph Street, Chicago,

                                            Illinois 60607. 2450 N. Clark, Inc. did business as Gaslight, located at 2450 North Clark Street,

                                            Chicago, Illinois 60614. 2450 N. Clark, Inc. employed, and controlled the payment of wages to,

                                            Servers who served food and drinks to Gaslight’s customers. As such, 2450 N. Clark, Inc. was

                                            an “employer” of the Servers at Gaslight as that term is defined by 29 U.S.C. § 203(d), 820 ILCS

                                            105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship

                                            between 2450 N. Clark, Inc. and those Servers as defined by 26 U.S.C. § 3121(b). On or about

                                            June 13, 2018, 2450 N. Clark, Inc. was merged into, and consolidated with, Defendant Clark

                                            Street Restaurant Partners, LLC. On information and belief, this merger and consolidation was

                                            cosmetic only, did not affect Gaslight’s operations, and transferred any and all ongoing liabilities

                                            from 2450 N. Clark, Inc. to Clark Street Restaurant Partners, LLC.

                                                   21.     Defendant Asclose, Inc. is an Illinois corporation with its principal place of

                                            business located at 1259 West Foster Avenue, #1, Chicago, Illinois 60640. Until approximately

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                                            June 2018, Asclose, Inc. did business as Schoolyard Tavern & Grill, located at 3258 North

                                            Southport Avenue, Chicago, Illinois 60657. However, in approximately June 2018, Asclose, Inc.
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                                            was sold to a new owner (or owners).1 On information and belief, that sale did not affect any of

                                            Asclose, Inc.’s ongoing liabilities. Prior to that sale, Asclose, Inc.’s principal place of business

                                            was located at 1040 West Randolph Street, Chicago, Illinois 60607. Until approximately June

                                            2018, Asclose, Inc. employed, and controlled the payment of wages to, Servers who served food

                                            and drinks to Schoolyard Tavern & Grill’s customers. As such, Asclose, Inc. was an “employer”

                                            of the Servers at Schoolyard Tavern & Grill as that term is defined by 29 U.S.C. § 203(d), 820

                                            ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there was an “employment”

                                            relationship between Asclose, Inc. and those Servers as defined by 26 U.S.C. § 3121(b).

                                                       22.     Defendant The Chase Tavern, Inc. is an Illinois corporation with its principal

                                            place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. From

                                            approximately November 2013 through June 2015, The Chase Tavern, Inc. did business as Trellis

                                            Wine Bar, located at 2426 North Racine Avenue, Chicago, Illinois 60614. During that time, The

                                            Chase Tavern, Inc. employed, and controlled the payment of wages to, Servers who served food

                                            and drinks to Trellis Wine Bar’s customers. As such, The Chase Tavern, Inc. was an “employer”

                                            of the Servers at Trellis Wine Bar as that term is defined by 29 U.S.C. § 203(d), 820 ILCS

                                            105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there was an “employment” relationship

                                            between The Chase Tavern, Inc. and those Servers as defined by 26 U.S.C. § 3121(b).

                                                       23.     Defendant Saloon Holdings, LLC is an Illinois limited liability company with its

                                            principal place of business located at 1040 West Randolph Street, Chicago, Illinois 60607. Until

                                            approximately 2017, Saloon Holdings, LLC did business as The Crossing Tavern, located at


                                            1
                                                http://www.chicagotribune.com/business/ct-biz-schoolyard-tavern-links-four-corners-20180611-story.html
                                                                                                     10
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                                            2548 North Southport Avenue, Chicago, Illinois 60614. During that time, Saloon Holdings, LLC

                                            employed, and controlled the payment of wages to, Servers who served food and drinks to The
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                                            Crossing Tavern’s customers. As such, Saloon Holdings, LLC was an “employer” of the Servers

                                            at The Crossing Tavern as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820

                                            ILCS 115/2, and 26 U.S.C. § 3401(d), and there was an “employment” relationship between

                                            Saloon Holdings, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   24.     Defendant Saloon Holdings Manager, LLC is an Illinois limited liability company

                                            with its principal place of business located at 1040 West Randolph Street, Chicago, Illinois

                                            60607. Saloon Holdings Manager, LLC is the manager of Defendant Saloon Holdings, LLC.

                                            Through Saloon Holdings, LLC, Saloon Holdings Manager, LLC employs, and controls the

                                            payment of wages to, Servers who serve food and drinks to The Crossing Tavern’s customers.

                                            As such, Saloon Holdings Manager, LLC is an “employer” of the Servers at The Crossing Tavern

                                            as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26

                                            U.S.C. § 3401(d), and there is an “employment” relationship between Saloon Holdings Manager,

                                            LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   25.     Defendant Hardtales, Inc. is an Illinois corporation with its principal place of

                                            business located at 4711 W. Golf Road, Suite 1125, Skokie, Illinois 60076. Until approximately

                                            2016, an unknown entity did business as Brownstone Tavern & Grill (Lincoln and Irving Park),

                                            located at 3937 North Lincoln Avenue, Chicago, Illinois 60613. However, in approximately

                                            2016, Brownstone Tavern & Grill (Lincoln and Irving Park) was sold to Hardtales, Inc. On

                                            information and belief, that sale did not affect the Brownstone Tavern & Grill (Lincoln and

                                            Irving Park)’s operations, and any and all ongoing liabilities of the unknown entity as pertaining

                                            to the Brownstone Tavern & Grill (Lincoln and Irving Park) were transferred to Hardtales, Inc.

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                                            Prior to that sale, that unknown entity employed, and controlled the payment of wages to,

                                            Servers who served food and drinks to Brownstone Tavern & Grill (Lincoln and Irving Park)’s
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                                            customers. As such, that unknown entity was an “employer” of the Servers at Brownstone

                                            Tavern & Grill (Lincoln and Irving Park) as that term is defined by 29 U.S.C. § 203(d), 820

                                            ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there was an “employment”

                                            relationship between that unknown entity and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   26.     Each of the foregoing bars and restaurants, and the entities (and parent entities)

                                            that own and manage them, are part of a collection of bars and restaurants located in Chicago,

                                            Illinois operating under the common “Four Corners” enterprise.2 As such, Defendant Four

                                            Corners is a voluntary unincorporated association of entities operating the foregoing bars and

                                            restaurants located in Chicago, Illinois. Like the constituent entities within the Four Corners

                                            enterprise, Defendant Four Corners employs, and controls the payment of wages to, Servers who

                                            serve food and drinks to customers at the bars and restaurants within the Four Corners enterprise.

                                            As such, Defendant Four Corners was, and is, an “employer” of the Servers at the bars and

                                            restaurants within the Four Corners enterprise as that term is defined by 29 U.S.C. § 203(d), 820

                                            ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there was, and is, an

                                            “employment” relationship between Defendant Four Corners and those Servers as defined by 26

                                            U.S.C. § 3121(b).

                                                   27.     In addition to the foregoing bars and restaurants, and the entities (and parent

                                            entities) that own and manage them, several other entities operate within the Four Corners

                                            enterprise.



                                            2
                                              See www.4cbars.com (“Four Corners is one of Chicago’s leading hospitality groups that owns and
                                            operates … our current portfolio of 15 venues in Chicago.”)
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                                                   28.    Defendant Four Corners Tavern Fund I, LLC is a Delaware limited liability

                                            company with its principle place of business at 1040 West Randolph Street, Chicago, Illinois
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                                            60607. Defendant Four Corners Tavern Fund Management, LLC is the manager of Four Corners

                                            Tavern Fund I, LLC, and Four Corners Tavern Fund I, LLC is a part of the Four Corners

                                            enterprise. Through its participation in the Four Corners enterprise, Four Corners Tavern Fund I,

                                            LLC employs, and controls the payment of wages to, Servers who serve food and drinks to

                                            customers at the bars and restaurants within the Four Corners enterprise. As such, Four Corners

                                            Tavern Fund I, LLC is an “employer” of the Servers at the bars and restaurants within the Four

                                            Corners enterprise as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS

                                            115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship between Four

                                            Corners Tavern Fund I, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   29.    Defendant Four Corners Tavern Group Fund Investor, LLC is a Delaware limited

                                            liability company with its principle place of business at 1040 West Randolph Street, Chicago,

                                            Illinois 60607. Four Corners Tavern Group Fund Investor, LLC is a part of the Four Corners

                                            enterprise. Through its participation in the Four Corners enterprise, Four Corners Tavern Group

                                            Fund Investor, LLC employs, and controls the payment of wages to, Servers who serve food and

                                            drinks to customers at the bars and restaurants within the Four Corners enterprise. As such, Four

                                            Corners Tavern Group Fund Investor, LLC is an “employer” of the Servers at the bars and

                                            restaurants within the Four Corners enterprise as that term is defined by 29 U.S.C. § 203(d), 820

                                            ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment”

                                            relationship between Four Corners Tavern Group Fund Investor, LLC and those Servers as

                                            defined by 26 U.S.C. § 3121(b).



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                                                   30.    Defendant Four Corners Tavern Partners, LLC is a Delaware limited liability

                                            company with its principle place of business at 1040 West Randolph Street, Chicago, Illinois
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                                            60607. Four Corners Tavern Partners, LLC is a part of the Four Corners enterprise. Through its

                                            participation in the Four Corners enterprise, Four Corners Tavern Partners, LLC employs, and

                                            controls the payment of wages to, Servers who serve food and drinks to customers at the bars and

                                            restaurants within the Four Corners enterprise. As such, Four Corners Tavern Partners, LLC is

                                            an “employer” of the Servers at the bars and restaurants within the Four Corners enterprise as

                                            that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. §

                                            3401(d), and there is an “employment” relationship between Four Corners Tavern Partners, LLC

                                            and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   31.    Defendant Four Corners Tavern Group Inc. is an Illinois corporation with its

                                            principle place of business at 1040 West Randolph Street, Chicago, Illinois 60607. Four Corners

                                            Tavern Group Inc. is the operating company for Four Corners Tavern Fund I, LLC, and is a part

                                            of the Four Corners enterprise. Through its participation in the Four Corners enterprise, Four

                                            Corners Tavern Group Inc. employs, and controls the payment of wages to, Servers who serve

                                            food and drinks to customers at the bars and restaurants within the Four Corners enterprise. As

                                            such, Four Corners Tavern Group Inc. is an “employer” of the Servers at the bars and restaurants

                                            within the Four Corners enterprise as that term is defined by 29 U.S.C. § 203(d), 820 ILCS

                                            105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship

                                            between Four Corners Tavern Group Inc. and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   32.    Four Corners Holdings, LLC is an Illinois limited liability company with its

                                            principle place of business at 1040 West Randolph Street, Chicago, Illinois 60607. Four Corners

                                            Holdings, LLC is a part of the Four Corners enterprise. Through its participation in the Four

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                                            Corners enterprise, Four Corners Holdings, LLC employs, and controls the payment of wages to,

                                            Servers who serve food and drinks to customers at the bars and restaurants within the Four
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                                            Corners enterprise. As such, Four Corners Holdings, LLC is an “employer” of the Servers at the

                                            bars and restaurants within the Four Corners enterprise as that term is defined by 29 U.S.C. §

                                            203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an

                                            “employment” relationship between Four Corners Holdings, LLC and those Servers as defined

                                            by 26 U.S.C. § 3121(b).

                                                   33.    Four Corners Capital Advisors, LLC is a Delaware limited liability company with

                                            its principle place of business at 1040 West Randolph Street, Chicago, Illinois 60607. Four

                                            Corners Capital Advisors, LLC is a part of the Four Corners enterprise. Through its participation

                                            in the Four Corners enterprise, Four Corners Capital Advisors, LLC employs, and controls the

                                            payment of wages to, Servers who serve food and drinks to customers at the bars and restaurants

                                            within the Four Corners enterprise.     As such, Four Corners Capital Advisors, LLC is an

                                            “employer” of the Servers at the bars and restaurants within the Four Corners enterprise as that

                                            term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. §

                                            3401(d), and there is an “employment” relationship between Four Corners Capital Advisors,

                                            LLC and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   34.    Four Corners Shuttle, LLC is an Illinois limited liability company with its

                                            principle place of business at 3258 North Southport Avenue, Chicago, Illinois 60657. Four

                                            Corners Shuttle, LLC is a part of the Four Corners enterprise. Through its participation in the

                                            Four Corners enterprise, Four Corners Shuttle, LLC employs, and controls the payment of wages

                                            to, Servers who serve food and drinks to customers at the bars and restaurants within the Four

                                            Corners enterprise. As such, Four Corners Shuttle, LLC is an “employer” of the Servers at the

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                                            bars and restaurants within the Four Corners enterprise as that term is defined by 29 U.S.C. §

                                            203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an
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                                            “employment” relationship between Four Corners Shuttle, LLC and those Servers as defined by

                                            26 U.S.C. § 3121(b).

                                                   35.    4C Cheval LLC is a Delaware limited liability company with its principle place of

                                            business at 1040 West Randolph Street, Chicago, Illinois 60607. 4C Cheval LLC is a part of the

                                            Four Corners enterprise. Through its participation in the Four Corners enterprise, 4C Cheval

                                            LLC employs, and controls the payment of wages to, Servers who serve food and drinks to

                                            customers at the bars and restaurants within the Four Corners enterprise. As such, 4C Cheval

                                            LLC is an “employer” of the Servers at the bars and restaurants within the Four Corners

                                            enterprise as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2,

                                            and 26 U.S.C. § 3401(d), and there is an “employment” relationship between 4C Cheval LLC

                                            and those Servers as defined by 26 U.S.C. § 3121(b).

                                                   36.     1001 W. Lake, LLC is a Delaware limited liability company with its principle

                                            place of business at 1040 West Randolph Street, Chicago, Illinois 60607. Defendant Four

                                            Corners Tavern Fund I, LLC is the manager of 1001 W. Lake, LLC, and 1001 W. Lake, LLC is a

                                            part of the Four Corners enterprise. Through its participation in the Four Corners enterprise,

                                            1001 W. Lake, LLC employs, and controls the payment of wages to, Servers who serve food and

                                            drinks to customers at the bars and restaurants within the Four Corners enterprise. As such, 1001

                                            W. Lake, LLC is an “employer” of the Servers at the bars and restaurants within the Four

                                            Corners enterprise as that term is defined by 29 U.S.C. § 203(d), 820 ILCS 105/3(c), 820 ILCS

                                            115/2, and 26 U.S.C. § 3401(d), and there is an “employment” relationship between 1001 W.

                                            Lake, LLC and those Servers as defined by 26 U.S.C. § 3121(b).

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                                                   37.    Matthew Menna is a real person, and a manager of Defendants 4C Kinzie Investor

                                            LLC, 4C 1001 W. Lake Opco, LLC, Four Corners Tavern Fund Management, LLC, Wells
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                                            Holdings Manager, LLC, West Loop Tap, L.L.C., Rocco’s, LLC, Clark Street Restaurant

                                            Partners, LLC, Four Corners Tavern Group Fund Investor, LLC, Four Corners Tavern Partners,

                                            LLC, Four Corners Holdings, LLC, Four Corners Capital Advisors, LLC, Four Corners Shuttle,

                                            LLC, Saloon Holdings Manager, LLC, and 4C Cheval LLC. Matthew Menna is also a partner in

                                            Defendant Talbott Associates, L.P., the President of Defendants Keystone Holdings Corp., 2450

                                            N. Clark, Inc., The Chase Tavern, Inc., and Four Corners Tavern Group Inc., and the Secretary of

                                            Defendant River North Tap, Inc. Until its sale in approximately June 2018, Matthew Menna was

                                            also the President of Defendant Asclose, Inc. On information and belief, Matthew Menna is also

                                            a manager of Defendants 4C 1500 N. Wells Opco, LLC and Cheval Porter Manager, LLC, and is,

                                            or was, a manger, officer, or member of the unknown entity that did business as Brownstone

                                            Tavern & Grill (Lincoln and Irving Park), as well as the voluntary unincorporated association

                                            known as Four Corners.

                                                   38.    Andrew Gloor is a real person, and a manager of Defendants 4C Kinzie Investor

                                            LLC, 4C 1001 W. Lake Opco, LLC, Four Corners Tavern Fund Management, LLC, Wells

                                            Holdings Manager, LLC, West Loop Tap, L.L.C., Rocco’s, LLC, Clark Street Restaurant

                                            Partners, LLC, Four Corners Tavern Group Fund Investor, LLC, Four Corners Tavern Partners,

                                            LLC, Four Corners Holdings, LLC, Four Corners Capital Advisors, LLC, Four Corners Shuttle,

                                            LLC, Saloon Holdings Manager, LLC, and 4C Cheval LLC. Andrew Gloor is also a partner in

                                            Defendant Talbott Associates, L.P., the President of Defendants Shef at Oak, Inc. and River

                                            North Tap, Inc., and the Secretary of Defendants Keystone Holdings Corp., Shef at Oak, Inc.,

                                            The Chase Tavern, Inc., and Four Corners Tavern Group Inc. Until its sale in approximately

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                                            June 2018, Andrew Gloor was also the Secretary of Defendant Asclose, Inc. On information and

                                            belief, Andrew Gloor is also a manager of Defendants 4C 1500 N. Wells Opco, LLC and Cheval
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                                            Porter Manager, LLC, and is, or was, a manger, officer, or member of the unknown entity that

                                            did business as Brownstone Tavern & Grill (Lincoln and Irving Park).

                                                   39.     As managers and/or officers of the business entities which comprise the Four

                                            Corners enterprise, Matthew Menna and Andrew Gloor exercise significant control, oversight,

                                            and authority relative to the entities within the Four Corners enterprise, and the Four Corners

                                            enterprise itself. On information and belief, at each of the bars and restaurants within the Four

                                            Corners enterprise, Matthew Menna and Andrew Gloor, on behalf of the Four Corners enterprise,

                                            and the constituent entities thereof: (1) have the power to hire and fire Servers; (2) supervise and

                                            control the hours of operation and the conditions of employment; (3) create, establish, maintain,

                                            and enforce policies related to employee compensation, accounting, and recordkeeping; and (4)

                                            are responsible for maintaining records relative to employee compensation, revenue, and

                                            accounting. As such, Matthew Menna and Andrew Gloor are each an “employer” of the Servers

                                            at the bars and restaurants within the Four Corners enterprise as that term is defined by 29 U.S.C.

                                            § 203(d), 820 ILCS 105/3(c), 820 ILCS 115/2, and 26 U.S.C. § 3401(d), and there is an

                                            “employment” relationship between Matthew Menna and Andrew Gloor, and those Servers, as

                                            defined by 26 U.S.C. § 3121(b).

                                                   40.     Based on the foregoing, all Defendants are part of the Four Corners business

                                            “enterprise” as that term is defined by 29 U.S.C. § 203(r)(1), and are jointly and severally liable

                                            for the liabilities of the Four Corners enterprise.




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                                                   41.     Based upon information and belief, the Four Corners business enterprise has

                                            many employees who are engaged in commerce, and many employees who regularly and
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                                            recurrently handle goods that have travelled in interstate commerce.

                                                   42.     Based upon information and belief, the Four Corners business enterprise has an

                                            annual gross volume of business done in excess of $500,000.

                                                   43.     Based on the foregoing, the Four Corners business enterprise is engaged in

                                            commerce within the meaning of 29 U.S.C. § 203(s)(1)(A).

                                                                                   THE PLAINTIFF

                                                   44.     Plaintiff Erik Luna is a resident and citizen of Cook County, Illinois, and worked

                                            for the Four Corners business enterprise as a Server from approximately April 2011 until June

                                            2018. Throughout that period, Plaintiff was an “employee” as defined by 29 U.S.C. § 203(e)(1),

                                            820 ILCS 105/3(d), 820 ILCS 115/2, 26 U.S.C. § 3121(d), and 26 U.S.C. § 3401(c).

                                                                            JURISDICTION AND VENUE

                                                   45.     Jurisdiction over Defendants is proper pursuant to 735 ILCS 5/2-209(a)(1)

                                            (transaction of any business within this State), section 2-209(a)(7) (the making or performance of

                                            any contract or promise substantially connected with this State), section 2-209(b)(4) (natural

                                            person or corporation doing business within this State), and section 2-209(c) (any other basis

                                            now or hereafter permitted by the Illinois Constitution and the Constitution of the United States).

                                                   46.     Venue is proper in this County pursuant to 735 ILCS 5/2-101, because this is the

                                            County in which the transaction, or some part thereof occurred, and Defendants are persons and

                                            corporations doing business in this County. 735 ILCS 5/2-102(a).




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                                                                               FACTUAL ALLEGATIONS

                                                   47.     Defendants operate a collection of bars and restaurants located in Chicago, Illinois
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                                            operating under the common Four Corners enterprise.3

                                                   48.     At each bar and restaurant within the Four Corners group, Defendants employ

                                            Servers who serve food and drinks to customers. Defendants’ Servers are compensated at an

                                            hourly rate of pay, and through tips bestowed upon them by Defendants’ customers.

                                                   49.     At the end of each shift, before they leave work, Defendants’ Servers calculate

                                            what they believe to be the accurate total amount of tips that were bestowed upon them by

                                            Defendants’ customers, and accurately log and declare that total calculated amount of tips in

                                            Defendants’ point-of-sale (“POS”) system.

                                                   50.     Servers are given cash in an amount equal to the total amount of tips they

                                            declared in Defendants’ POS system, and are allowed to keep that money.4

                                                   51.     Servers do not receive any additional payments in connection with the tips that

                                            were bestowed upon them by Defendants’ customers other than the Take Home Cash they

                                            receive.

                                                   52.     Defendants’ Servers’ hourly compensation—i.e., compensation that does not

                                            derive from tips—is to be paid once every two weeks. However, Defendants usually retain the

                                            entirety of Servers’ hourly compensation (and only that amount) for tax withholding purposes,

                                            and therefore, Servers usually do not receive any additional compensation over and above their

                                            Take Home Cash at the end of each pay period.



                                            3
                                              See www.4cbars.com (“Four Corners is one of Chicago’s leading hospitality groups that owns and
                                            operates … our current portfolio of 15 venues in Chicago.”)
                                            4
                                              For clarity, the cash that Servers are given and allowed to keep in connection with tips bestowed upon
                                            them by Defendants’ customers shall be referred to as “Take Home Cash.”
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                                                   53.     On the same biweekly basis, Servers receive paystubs (“Paystubs”) that are

                                            supposed to reflect, inter alia, the number of hours Servers worked during the previous pay
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                                            period, the amount of hourly wage compensation they earned during the previous pay period, and

                                            the amount of taxes withheld during the previous pay period. The Paystubs also state Servers’

                                            “Cash Tips” during a given pay period.

                                                   54.     In principle, the value of “Cash Tips” reflected on Servers’ Paystubs should

                                            uniformly reflect the total amount of tips that were bestowed upon Servers by Defendants’

                                            customers, the total amount of tips that Servers declared in Defendants’ POS system, and

                                            Servers’ Take Home Cash, as these values should be coextensive.

                                                   55.     However, in actuality, the amount of “Cash Tips” reflected on Servers’ Paystubs is

                                            greater than the amount of Take Home Cash that Servers were given (and allowed to keep) and

                                            the total amount of tips that they declared in Defendants’ POS system.

                                                   56.     At the end of each calendar year, Defendants generate Form W-2 wage and tax

                                            statements (“W-2s”) for their Servers using the information on Servers’ Paystubs. Accordingly,

                                            Servers’ annual income, as set forth on their W-2s, is based upon the amount of “Cash Tips”

                                            listed on Servers’ Paystubs during the previous calendar year.

                                                                        FACTS RELEVANT TO PLAINTIFF

                                                   57.     From approximately April 2011 until June 2018, Plaintiff was a bartender at a

                                            Four Corners bar known as “Benchmark Bar and Grill” (“Benchmark”).

                                                   58.     When he worked at Benchmark, Plaintiff was compensated at an hourly rate of

                                            pay, and through tips bestowed upon him by Defendants’ customers.

                                                   59.     At the end of each shift, before he left Benchmark, Plaintiff would calculate what

                                            he believed to be the accurate total amount of tips that were bestowed upon him by Defendants’

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                                            customers, and would accurately log and declare that total calculated amount of tips in

                                            Defendants’ POS system.
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                                                   60.      Plaintiff was given Take Home Cash in an amount equal to the total amount of

                                            tips he declared in Defendants’ POS system, and was allowed to keep that Take Home Cash.

                                                   61.      Plaintiff did not receive any additional payments in connection with the tips that

                                            were bestowed upon him by Defendants’ customers other than the Take Home Cash he received.

                                                   62.      Plaintiff usually would not receive a paycheck at the end of each pay period

                                            because the entirety of his hourly compensation (and only that amount) was usually withheld for

                                            tax purposes.

                                                   63.      Plaintiff’s Paystubs routinely stated that Plaintiff’s “Cash Tips” were greater than

                                            the amount of Take Home Cash that he was given (and allowed to keep) and the total amount of

                                            tips he declared in Defendants’ POS system.

                                                   64.      The amount of “Cash Tips” on Plaintiff’s Paystubs was used to calculate

                                            Plaintiff’s annual income on his W-2s.

                                                   65.      For example, during the pay period beginning on March 22, 2017 and ending on

                                            April 4, 2017, Plaintiff worked five (5) separate shifts as a bartender at Benchmark. During that

                                            pay period, Plaintiff believed that the accurate total amount of tips bestowed upon him by

                                            Defendants’ customers was $2,437, and Plaintiff logged and declared that amount in Defendants’

                                            POS system. See, records reflecting the value of the tips that Plaintiff declared in Defendants’

                                            POS system, attached hereto as Exhibit 1.

                                                   66.      During the pay period beginning on March 22, 2017 and ending on April 4, 2017,

                                            Plaintiff received Take Home Cash in an amount equal to the total amount tips that he declared in

                                            Defendants’ POS system—$2,437.           This Take Home Cash constituted the only payments

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                                            Plaintiff received during the pay period beginning on March 22, 2017 and ending on April 4,

                                            2017 in connection with the tips bestowed upon him by Defendants’ customers.
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                                                   67.     However, Plaintiff’s Paystub for that same pay period states that Plaintiff’s “Cash

                                            Tips” were $2,850. See, Plaintiff’s Paystub for the pay period beginning on March 22, 2017 and

                                            ending on April 4, 2017, attached hereto as Exhibit 2. That Paystub also indicates that the

                                            entirety of Plaintiff’s hourly compensation (and no more)—$316.60—was withheld for tax

                                            purposes.5 See, Exhibit 2.

                                                                          THE WAGE AND HOUR CLAIMS

                                                   68.     Applicable here, the Fair Labor Standards Act (“FLSA”)—codified as 29 U.S.C.

                                            §§ 201, et seq.—the Illinois Minimum Wage Law (“IMWL”)—codified as 820 ILCS 105/1, et

                                            seq.—and the Chicago Minimum Wage Ordinance (“Chicago Ordinance”)—codified as Chi.

                                            Mun. Code §§ 1-24-010, et seq.—all establish a minimum hourly rate at which employers must

                                            compensate employees (i.e., a minimum wage).

                                                   69.     From July 24, 2009 through the present, the FLSA provided that employees are to

                                            be compensated at an hourly rate of at least $7.25 per hour. 29 U.S.C. § 206(a)(1)(C). Prior to

                                            that, from July 24, 2007 through July 23, 2008, the FLSA provided that employees are to be

                                            compensated at an hourly rate of at least $5.85 per hour (29 U.S.C. § 206(a)(1)(A)), and from

                                            July 24, 2008 through July 23, 2009, the FLSA provided that employees are to be compensated

                                            at an hourly rate of at least $6.55 per hour (29 U.S.C. § 206(a)(1)(B)).

                                                   70.     Relative to “tipped employees”—as defined by 29 U.S.C. § 203(t)—the FLSA

                                            permits employers to credit the amount of tips employees receive towards employees’ hourly rate



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                                             Accordingly, Plaintiff did not receive a paycheck for the pay period beginning on March 22, 2017 and
                                            ending on April 4, 2017.
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                                            of pay, so long as employers pay “tipped employees” a cash wage of at least $2.13 per hour. 29

                                            U.S.C. § 203(m)(2); 29 CFR § 531.59(a).
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                                                    71.    From July 1, 2010 through the present, the IMWL provided that employees are to

                                            be compensated at an hourly rate of at least $8.25 per hour. 820 ILCS 105/4(a)(1). Prior to that:

                                            (1) from July 1, 2007 through June 30, 2008, the IMWL provided that employees are to be

                                            compensated at an hourly rate of at least $7.50 per hour; (2) from July 1, 2008 through June 30,

                                            2009, the IMWL provided that employees are to be compensated at an hourly rate of at least

                                            $7.75 per hour; and (3) from July 1, 2009 through June 30, 2010, the IMWL provided that

                                            employees are to be compensated at an hourly rate of at least $8.00 per hour. 820 ILCS

                                            105/4(a)(1).

                                                    72.    Relative to employees “engaged in an occupation in which gratuities have

                                            customarily and usually constituted and have been recognized as part of the” employees’

                                            compensation, the IMWL permits employers to credit the amount of tips employees receive

                                            towards employees’ hourly rate of pay, so long as the amount credited does not exceed 40% of

                                            the prevailing minimum wage rate—e.g., under the current minimum wage of $8.25 per hour,

                                            employers must pay tipped employees a cash wage of at least $4.95 per hour. 820 ILCS

                                            105/4(c).

                                                    73.    The foregoing provisions of the FLSA and IMWL establish what is commonly

                                            referred to as the “tip credit” because those provisions allow employers to credit a certain

                                            amount of tips that employees receive towards the FLSA’s and IMWL’s applicable minimum

                                            wage.

                                                    74.    Because “whether a tip is to be given, and its amount, are matters determined

                                            solely by the customer, who has the right to determine who shall be the recipient of the gratuity,”

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                                            it is well-established that “tips are the property of the employee.” 29 CFR § 531.52. As such,

                                            “tip credit provisions of [the FLSA and IMWL] require employers to permit employees to retain
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                                            all tips received by the employee.”      29 CFR § 531.59(b); see also, Williams-Green v. J.

                                            Alexander’s Restaurants, Inc., 277 F.R.D. 374, 378 (N.D. Ill. 2011) (“Tip credits are treated

                                            identically under both the [IMWL] and [FLSA].”).

                                                   75.     Accordingly, “an employer may only take the tip credit under the FLSA

                                            and IMWL if each tipped employee retains all of his tips.”           E.g., Starr v. Chicago Cut

                                            Steakhouse, LLC, 75 F.Supp.3d 859, 864-65 (N.D. Ill. 2014) (citing 29 U.S.C. § 203(m)(2) and

                                            820 ILCS 105/4(c)); Williams-Green, 277 F.R.D. at 378; 29 CFR § 531.52; 29 CFR § 531.59(b).

                                                   76.     Similarly, employers are not permitted to withhold tip income from employees for

                                            tax purposes. 26 U.S.C. § 3102(c)(1); 26 U.S.C. § 3402(k). Although employees can, after

                                            receiving tips, remit a portion of those tips back to their employers for tax withholding purposes,

                                            employees are not required to do so. 26 U.S.C. § 3102(c)(2); 26 U.S.C. § 3402(k).

                                                   77.     The Chicago Ordinance—which went into effect on July 1, 2015—also

                                            establishes a minimum wage for employees. From July 1, 2015 through June 30, 2016, the

                                            Chicago Ordinance provided that employees are to be compensated at an hourly rate of at least

                                            $10.00 per hour (Chi. Mun. Code § 1-24-020(a)), from July 1, 2016 through June 30, 2017, the

                                            Chicago Ordinance provided that employees are to be compensated at an hourly rate of at least

                                            $10.50 per hour (Chi. Mun. Code § 1-24-020(b)), and from July 1, 2017 through June 30, 2018,

                                            the Chicago Ordinance provided that employees are to be compensated at an hourly rate of at

                                            least $11.00 per hour (Chi. Mun. Code § 1-24-020(c)). As of July 1, 2018, the Chicago

                                            Ordinance requires employees to be compensated at an hourly rate of at least $12.00 per hour.

                                            Chi. Mun. Code § 1-24-020(d).

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                                                    78.   Like the FLSA and IMWL, the Chicago Ordinance establishes a lesser minimum

                                            wage relative to employees “engaged in an occupation in which gratuities have customarily and
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                                            usually constituted part of the” employees’ compensation. Chi. Mun. Code § 1-24-030(a). From

                                            July 1, 2015 through June 30, 2016, the minimum wage for tipped employees under the Chicago

                                            Ordinance was $5.45 per hour (Chi. Mun. Code § 1-24-030(a)(1)), from July 1, 2016 through

                                            June 30, 2017, the minimum wage for tipped employees under the Chicago Ordinance was $5.95

                                            per hour (Chi. Mun. Code § 1-24-030(a)(2)), and from July 1, 2017 through June 30, 2018, the

                                            minimum wage for tipped employees under the Chicago Ordinance was $6.10 per hour (Chi.

                                            Mun. Code § 1-24-030(a)(3)). As of July 1, 2018, the minimum wage for tipped employees

                                            under the Chicago Ordinance is $6.25 per hour (Chi. Mun. Code § 1-24-030(a)(3)).

                                                    79.   To avail itself of the lesser minimum wage for tipped employees—i.e., a tip credit

                                            under the Chicago Ordinance—an employer must permit its employees to retain all of their tips.

                                            Chi. Mun. Code § 1-24-030(b).       Otherwise, an employer must pay tipped employees the

                                            minimum wage applicable to employees who do not customarily receive tips.                  Chicago

                                            Minimum Wage and Paid Sick Leave Rules, MW 2.04.

                                                    80.   Here, at all times relevant, Plaintiff’s and Servers’ hourly rate of pay, taken alone,

                                            irrespective of tips, was less than the applicable minimum rates established by the FLSA (29

                                            U.S.C. § 206(a)(1)), the IMWL (820 ILCS 105/4(a)(1)), and the section of the Chicago

                                            Ordinance pertaining to employees who do not customarily receive tips (Chi. Mun. Code § 1-24-

                                            020).

                                                    81.   Accordingly, Defendants were required to rely on a “tip credit” to satisfy the

                                            minimum wage requirements set forth by the FLSA and the IMWL, and avail themselves of the

                                            lesser minimum wage for tipped employees established by the Chicago Ordinance.

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                                                   82.     As discussed above, there is a discrepancy between the amount of “Cash Tips”

                                            stated on Plaintiff’s and Servers’ Paystubs—a larger number—and the amount of Take Home
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                                            Cash that Plaintiff and Servers were actually given and allowed to keep—a smaller number.

                                            Accordingly, only one of these numbers—i.e., the amount of “Cash Tips” stated on Plaintiff’s

                                            and Servers’ Paystubs or the Take Home Cash that Plaintiff and Servers were given—accurately

                                            reflected the amount of tips that were bestowed upon Plaintiff and Servers by Defendants’

                                            customers.

                                                   83.     The precise reason for the discrepancy between the amount of “Cash Tips” stated

                                            on Plaintiff’s and Servers’ Paystubs and the amount of Take Home Cash that Plaintiff and

                                            Servers were actually given and allowed to keep is unknown at this time. However, for purposes

                                            of the “Wage and Hour Claims” set forth herein, it is assumed that the amount of “Cash Tips”

                                            stated on Plaintiff’s and Servers’ Paystubs was accurate with respect to the actual amount of tips

                                            that were bestowed upon Plaintiff and Servers by Defendants’ customers. Necessarily, this

                                            means that the amount of Take Home Cash that Plaintiff and Servers were given and allowed to

                                            keep was inaccurate with respect to the amount of tips that were bestowed upon Plaintiff and

                                            Servers by Defendants’ customers. If the foregoing is true, then the amount of tips that were

                                            bestowed upon Plaintiff and Servers by Defendants’ customers is greater than the amount of

                                            Take Home Cash that Plaintiff and Servers were actually given and allowed to keep.

                                                   84.     Plaintiff and Servers were not given any additional money that would eliminate

                                            the discrepancy between the actual amount of tips that were bestowed upon them by Defendants’

                                            customers—as reflected on their Paystubs, assuming those Paystubs are accurate—and the

                                            amount of Take Home Cash that Plaintiff and Servers were given and allowed to keep. Instead,

                                            Defendants retained those additional sums for their own benefit.

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                                                   85.     Defendants did not retain those additional sums for tax withholding purposes, as

                                            those additional amounts were not listed on Plaintiff’s and Servers’ Paystubs as being withheld
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                                            for tax purposes. In fact, Defendants could not withhold those additional amounts for tax

                                            purposes, as Defendants would only be permitted to do so if Plaintiff and Servers remitted those

                                            amounts back to Defendants after Defendants gave them to Plaintiff and Servers. 26 U.S.C. §

                                            3102(c); 26 U.S.C. § 3402(k).

                                                   86.     Because Plaintiff and Servers did not receive the entirety of the tips that were

                                            bestowed upon them by Defendants’ customers in the form of Take Home Cash, and Defendants

                                            retained those additional amounts for their own benefit, Defendants cannot rely on a tip credit

                                            relative to Plaintiff’s and Servers’ hourly rate of pay. E.g., 29 CFR § 531.52; 29 CFR §

                                            531.59(b); Starr, 75 F.Supp.3d at 864-65; Williams-Green, 277 F.R.D. at 378.

                                                   87.     Moreover, regardless of whether Defendants can rely on a tip credit relative to

                                            Plaintiff’s and Servers’ hourly rate of pay, Defendants were not permitted to retain any portion of

                                            the tips that were bestowed upon Plaintiff and Servers by Defendants’ customers. E.g., 29

                                            U.S.C. § 203(m)(2)(B); 29 CFR § 531.52; 29 CFR § 531.54; 29 CFR § 531.59; Starr, 75

                                            F.Supp.3d at 865; see also, 26 U.S.C. § 3102(c); 26 U.S.C. § 3402(k).

                                                   88.     In addition, in accordance with the minimum wage and tip credit provisions of the

                                            FLSA, IMWL, and Chicago Ordinance, Defendants agreed to compensate Plaintiff and Servers

                                            at an hourly rate that complied with the applicable minimum wage, and to allow Plaintiff and

                                            Servers to retain all tips that were bestowed upon Plaintiff and Servers by Defendants’

                                            customers.

                                                   89.     As such, the entirety of the tips that were bestowed upon Plaintiff and Servers by

                                            Defendants’ customers were “wages” under the Illinois Wage Payment and Collection Act

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                                            (“IWPCA”)—codified as 820 ILCS 115/1, et seq.—the FLSA, the IMWL, and the Chicago

                                            Ordinance. 820 ILCS 115/2; 29 U.S.C. § 203(m); 820 ILCS 105/3(b); Chi. Mun. Code § 1-24-
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                                            010.

                                                      90.   Since Defendants are not permitted to avail themselves of a tip credit with respect

                                            to Plaintiff and Servers to satisfy Defendants’ minimum wage obligations under the FLSA,

                                            IMWL, and Chicago Ordinance, and because all of the tips that were bestowed upon Plaintiff

                                            and Servers by Defendants’ customers also constitute wages owed to Plaintiff and Servers,

                                            Defendants did not pay Plaintiff and Servers the full amount of all wages to which they were

                                            entitled, in violation of the FLSA, IMWL, Chicago Ordinance, and IWPCA. 29 U.S.C. §

                                            206(a)(1); 29 U.S.C. § 203(m); 820 ILCS 105/4(a)(1); 820 ILCS 105/4(c); Chi. Mun. Code § 1-

                                            24-020; Chi. Mun. Code § 1-24-030(b); 820 ILCS 115/4.

                                                      91.   Similarly, because all of the tips that were bestowed upon Plaintiff and Servers by

                                            Defendants’ customers are Plaintiff’s and Servers’ property, Defendants’ failure to remit the

                                            entirety of those tips to Plaintiff and Servers constitutes conversion. Roderick Dev. Inv. Co., Inc.

                                            v. Cmty. Bank of Edgewater, 282 Ill.App.3d 1052, 1057 (1st Dist. 1996) (“Conversion is any

                                            unauthorized act, which deprives a man of his property permanently or for an indefinite time.”)

                                            (internal quotations omitted).

                                                      92.   Accordingly, Plaintiff, individually, and on behalf of other similarly situated

                                            individuals, brings claims under the FLSA, IMWL, Chicago Ordinance, and the IWPCA, as well

                                            as for conversion (collectively, the “Wage and Hour Claims”) against Defendants.

                                                      93.   With respect to Plaintiff’s FLSA claims, Plaintiff seeks to represent the

                                            “Collective Group” of similarly situated employees defined below, pursuant to 29 U.S.C. §

                                            216(b).

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                                                   94.      With respect to Plaintiff’s IMWL claims, Plaintiff seeks to represent the “IMWL

                                            Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-801.
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                                                   95.      With respect to Plaintiff’s Chicago Ordinance claims, Plaintiff seeks to represent

                                            the “Chicago Ordinance Class” of similarly situated individuals defined below, pursuant to 735

                                            ILCS 5/2-801.

                                                   96.      With respect to Plaintiff’s IWPCA claims, Plaintiff seeks to represent the

                                            “IWPCA Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-801.

                                                   97.      With respect to Plaintiff’s conversion claims, Plaintiff seeks to represent the

                                            “Conversion Class” of similarly situated individuals, pursuant to 735 ILCS 5/2-801.

                                                                             THE INCOME TAX CLAIMS

                                                   98.      In the alternative to Plaintiff’s Wage and Hour Claims, Plaintiff, individually, and

                                            on behalf of other similarly situated individuals, brings claims under Section 7434 of the Internal

                                            Revenue Code (“IRC Statute”)—codified as 26 U.S.C. § 7434—and the Racketeer Influenced

                                            and Corrupt Organizations Act (“RICO”)—codified as 18 U.S.C. §§ 1961, et seq.—as well as for

                                            common law civil conspiracy, fraud, and negligent misrepresentation (collectively, the “Income

                                            Tax Claims”).

                                                   99.      As discussed above, there is a discrepancy between the amount of “Cash Tips”

                                            stated on Plaintiff’s and Servers’ Paystubs—a larger number—and the amount of Take Home

                                            Cash that Plaintiff and Servers were actually given and allowed to keep—a smaller number.

                                            Accordingly, only one of these numbers—i.e., the amount of “Cash Tips” stated on Plaintiff’s

                                            and Servers’ Paystubs or the Take Home Cash that Plaintiff and Servers were given—accurately

                                            reflected the amount of tips that were bestowed upon Plaintiff and Servers by Defendants’

                                            customers.

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                                                   100.    The precise reason for the discrepancy between the amount of “Cash Tips” stated

                                            on Plaintiff’s and Servers’ Paystubs and the amount of Take Home Cash that Plaintiff and
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                                            Servers were actually given and allowed to keep is unknown at this time. However, for purposes

                                            of the Income Tax Claims set forth herein, it is assumed that the amount of “Cash Tips” stated on

                                            Plaintiff’s and Servers’ Paystubs was inaccurate with respect to the actual amount of tips that

                                            were bestowed upon Plaintiff and Servers by Defendants’ customers. Necessarily, this means

                                            that the value of the Take Home Cash that Plaintiff and Servers were given and allowed to keep

                                            was accurate with respect to the amount of tips that were bestowed upon Plaintiff and Servers by

                                            Defendants’ customers. If the foregoing is true, then the amount Take Home Cash that Plaintiff

                                            and Servers were actually given and allowed to keep is lesser than the amount of “Cash Tips”

                                            stated on Plaintiff’s and Servers’ Paystubs.

                                                   101.    Accordingly, Plaintiff’s and Servers’ Paystubs overstated the amount of taxable

                                            income that Plaintiff and Servers actually received—i.e., the amount of “Cash Tips” stated on

                                            Plaintiff’s and Servers’ Paystubs was greater than the amount of Take Home Cash that Plaintiff

                                            and Servers were actually given and allowed to keep.

                                                   102.    Because the amount of “Cash Tips” stated on Plaintiff’s and Servers’ Paystubs

                                            was used to calculate the amount of Plaintiff’s and Servers’ taxable income on their W-2s—

                                            instead of the amount of Take Home Cash that Plaintiff and Servers were actually given and

                                            allowed to keep—Plaintiff and Servers were required to pay income tax on income that they did

                                            not actually receive.

                                                   103.    With respect to Plaintiff’s IRC Statute claims, Plaintiff seeks to represent the “Tax

                                            Fraud Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-801.



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                                                   104.    With respect to Plaintiff’s RICO claims, Plaintiff seeks to represent the “RICO

                                            Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-801.
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                                                   105.    With respect to Plaintiff’s civil conspiracy claims, Plaintiff seeks to represent the

                                            “Conspiracy Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-

                                            801.

                                                   106.    With respect to Plaintiff’s fraud claims, Plaintiff seeks to represent the “Fraud

                                            Class” of similarly situated individuals defined below, pursuant to 735 ILCS 5/2-801.

                                                   107.    With respect to Plaintiff’s negligent misrepresentation claims, Plaintiff seeks to

                                            represent the “Negligent Misrepresentation Class” of similarly situated individuals defined

                                            below, pursuant to 735 ILCS 5/2-801.

                                                                                       COUNT I
                                                                      Violation of the Fair Labor Standards Act
                                                                              (29 U.S.C. §§ 201, et seq.)
                                                                   (On Behalf of Plaintiff and the Collective Group)

                                                   108.    Plaintiff repeats and realleges the allegations in Paragraphs 1-97 with the same

                                            force and effect as though fully set forth herein.

                                                                               Collective Action Allegations

                                                   109.    Plaintiff brings this Count as a Collective Action on behalf of himself and the

                                            Collective Group of similarly situation employees, pursuant to 29 U.S.C. § 216(b).

                                                   110.    Collective Group Definition: Plaintiff pursues the requested relief on behalf of

                                            the following Collective Group:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, during the applicable statute
                                                           of limitations period, (2) were compensated at an hourly rate of pay, irrespective
                                                           of tips, that was less than $7.25 per hour, and (3) received, on or after July 19,
                                                           2015, a Paystub which stated that they were given a greater amount in “Cash
                                                           Tips” than they actually received in Take Home Cash.

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                                                   111.    Plaintiff is a member of the Collective Group because he was employed by

                                            Defendants during the time period relevant to this action, was compensated at an hourly rate of
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                                            pay that was less than $7.25 per hour, and received Paystubs which stated that he was given a

                                            greater amount in “Cash Tips” than he actually received in Take Home Cash.

                                                   112.    Plaintiff’s FLSA Collective Action consent form is attached hereto as Exhibit 3.

                                                   113.    Although Plaintiff and the Collective Group members may have had different job

                                            titles and/or worked in different locations throughout the time period relevant to this action, this

                                            action may be properly maintained as a Collective Action because:

                                                           a.      Plaintiff and Collective Group members performed substantially similar
                                                                   job duties as Servers;

                                                           b.      Plaintiff and Collective Group members were compensated at an hourly
                                                                   rate of pay that was less than $7.25 per hour;

                                                           c.      Plaintiff and Collective Group members calculated what they believed to
                                                                   be the accurate amount of tips that were bestowed upon them by
                                                                   Defendants’ customers, and accurately logged and declared that calculated
                                                                   amount in Defendants’ POS system;

                                                           d.      Plaintiff and Collective Group members were given Take Home Cash in
                                                                   an amount equal to the amount of tips that they declared in Defendants’
                                                                   POS system;

                                                           e.      Other than their Take Home Cash, Plaintiff and Collective Group members
                                                                   were not given any additional amounts to account for the amount of tips
                                                                   that were actually bestowed upon them by Defendants’ customers during a
                                                                   given shift;

                                                           f.      Plaintiff and Collective Group members were not given and allowed to
                                                                   keep all of the tips that were bestowed upon them by Defendants’
                                                                   customers; and

                                                           g.      Defendants uniformly retained the additional amounts in tips bestowed
                                                                   upon Plaintiff and Collective Group members by Defendants’ customers
                                                                   over and above what Plaintiff and Collective Group members were given
                                                                   in Take Home Cash.


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                                                   114.    Defendants encouraged, required, and permitted Plaintiff and Collective Group

                                            members to work without being properly compensated.
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                                                   115.    Defendants knew that Plaintiff and Collective Group members performed work

                                            that required them to be paid at a rate not less than the minimum wage established by the FLSA,

                                            and that they were entitled to retain the full amount of tips that were bestowed upon Plaintiff and

                                            Collective Group members by Defendants’ customers. Nonetheless, Defendants operated under

                                            a uniform scheme to deprive Plaintiff and Collective Group members of a portion of the tips that

                                            were bestowed upon Plaintiff and Collective Group members by Defendants’ customers, such

                                            that Defendants cannot claim a tip credit with respect to Plaintiff’s and Collective Group

                                            members’ hourly rate of pay.       Therefore, Plaintiff and Collective Group members were

                                            compensated at a rate that was less than the minimum wage established by the FLSA, and were

                                            deprived of the full amount of tips that were bestowed upon them by Defendants’ customers.

                                                   116.    Defendants’ conduct, as alleged herein, was willful and has caused significant

                                            damage to Plaintiff and Collective Group members, as they were compensated at a rate that was

                                            less than the minimum wage established by the FLSA and were deprived of the full amount of

                                            tips that were bestowed upon them by Defendants’ customers.

                                                   117.    Defendants are liable under the FLSA for failing to properly compensate Plaintiff

                                            and Collective Group members at an hourly rate that satisfied the FLSA’s minimum wage

                                            provisions, and retaining a portion of the tips that were bestowed upon Plaintiff and Collective

                                            Group members by Defendants’ customers. Plaintiff requests that the Court authorize notice to

                                            the members of the Collective Group to inform them of the pendency of this action and their

                                            right to opt-in to this lawsuit—pursuant to 29 U.S.C. § 216(b)—for the purpose of seeking



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                                            unpaid compensation and liquidated damages under the FLSA, and the other relief requested

                                            herein.
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                                                      118.   Plaintiff estimates that the Collective Group, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of Collective Group members should be

                                            readily available from Defendants’ personnel, scheduling, time, and payroll records maintained

                                            in accordance with 29 U.S.C. § 211(c). Given the composition and size of the Collective Group,

                                            its members may be informed of the pendency of this action directly via U.S. mail, e-mail, and

                                            by posting notice in Defendants’ bars and restaurants.

                                                                                  Substantive Allegations

                                                      119.   Plaintiff’s and Collective Group members’ work activities were for the direct and

                                            substantial benefit of Defendants, and engaged them individually in “commerce,” as defined by

                                            29 U.S.C. § 203(b).

                                                      120.   At all times relevant, Plaintiff’s and Collective Group members’ hourly rate of

                                            pay, taken alone, was less than the minimum $7.25 per hour rate established by the FLSA. 29

                                            U.S.C. § 206(a)(1)(C).

                                                      121.   The amount of “Cash Tips” stated on Plaintiff’s and Collective Group members’

                                            Paystubs accurately reflected the amount of tips that were bestowed upon Plaintiff and

                                            Collective Group members by Defendants’ customers during their respective shifts.

                                                      122.   However, the Take Home Cash that was given to Plaintiff and Collective Group

                                            members was less than the amount of tips that were bestowed upon Plaintiff and Collective

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                                            Group members by Defendants’ customers during their respective shifts (and less than the

                                            amount of “Cash Tips” that was accurately stated on Plaintiff’s and Collective Group members’
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                                            Paystubs).

                                                   123.     Plaintiff and Collective Group members did not receive any additional payments

                                            in connection with the tips that were bestowed upon them by Defendants’ customers other than

                                            the Take Home Cash they were given by Defendants.

                                                   124.     Plaintiff and Collective Group members were not given and allowed to keep all of

                                            the tips that were bestowed upon them by Defendants’ customers by Defendants’ customers.

                                            Instead, Defendants uniformly retained the additional amounts in tips that were bestowed upon

                                            Plaintiff and Collective Group members by Defendants’ customers over and above what Plaintiff

                                            and Collective Group members were given in Take Home Cash.

                                                   125.     As such, Defendants cannot claim a tip credit with respect to Plaintiff and

                                            Collective Group members (29 U.S.C. § 203(m)(2)), and Plaintiff and Collective Group

                                            members were compensated at a rate less than the minimum wage established by the FLSA (29

                                            U.S.C. § 206(a)(1)(C)).

                                                   126.     Moreover, Defendants unlawfully retained a portion of the tips that were

                                            bestowed upon Plaintiff and Collective Group members by Defendants’ customers. 29 U.S.C. §

                                            203(m)(2)(B).

                                                   127.     Plaintiff and Collective Group members have been harmed as a direct and

                                            proximate result of Defendants’ unlawful conduct because they have been deprived of

                                            compensation at a rate not less the minimum wage established by the FLSA, as well as the full

                                            amount of tips bestowed upon them by Defendants’ customers.

                                                   128.     Defendants knew of the FLSA requirements described herein.

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                                                   129.    Defendants’ violations of the FLSA requirements described herein were willful.

                                                   130.    Pursuant to 29 U.S.C. § 216(b), Plaintiff and Collective Group members are
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                                            entitled to: (1) compensation for all of the hours that they worked for Defendants’ benefit in an

                                            amount equal to the difference between FLSA’s established minimum wage and Plaintiff’s and

                                            Collective Group members’ hourly rate of compensation, irrespective of tip income; (2)

                                            compensation in an amount equal to the amount of tips bestowed upon Plaintiff and Collective

                                            Group members by Defendants’ customers that Defendants retained; and (3) liquidated damages

                                            in an amount equal to all such unpaid compensation.

                                                   131.    Plaintiff and Collective Group members are also entitled to reasonable attorneys’

                                            fees and costs, pursuant to 29 U.S.C. § 216(b).

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Collective Group, prays for

                                            an Order as follows:

                                                           A.      Finding that this action satisfies the prerequisites for maintenance as a
                                                                   Collective Action, as set forth by 29 U.S.C. § 216(b), and certifying the
                                                                   Collective Group defined herein;

                                                           B.      Designating Plaintiff as representative of the Collective Group and his
                                                                   undersigned counsel as Collective Group Counsel;

                                                           C.      Entering judgment in favor of Plaintiff and the Collective Group and
                                                                   against Defendants;

                                                           D.      Awarding Plaintiff and the Collective Group all unpaid compensation to
                                                                   which they are entitled;

                                                           E.      Awarding Plaintiff and the Collective Group liquidated damages in an
                                                                   amount equal to the amount of the unpaid compensation to which they are
                                                                   entitled;

                                                           F.      Awarding Plaintiff and the Collective Group reasonable attorneys’ fees
                                                                   and costs; and


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                                                           G.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.
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                                                                                        COUNT II
                                                                      Violation of the Illinois Minimum Wage Law
                                                                                (820 ILCS 105/1, et seq.)
                                                                      (On Behalf of Plaintiff and the IMWL Class)

                                                   132.    Plaintiff repeats and realleges the allegations in Paragraphs 1-97 with the same

                                            force and effect as though fully set forth herein.

                                                                                  Class Action Allegations

                                                   133.    Plaintiff brings this Count as a Class Action on behalf of himself and the IMWL

                                            Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   134.    IMWL Class Definition: Plaintiff pursues the requested relief on behalf of the

                                            following IMWL Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, (2) were compensated at an
                                                           hourly rate of pay, irrespective of tips, that was less than $8.25 per hour, and (3)
                                                           received, on or after July 19, 2015, a Paystub which stated that they were given a
                                                           greater amount in “Cash Tips” than they actually received in Take Home Cash.

                                            Excluded from the IMWL Class are: (1) Defendants, Defendants’ agents, subsidiaries, parents,
                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling
                                            interest, and those entities’ current and former employees, officers, and directors; (2) the Judge
                                            to whom this case is assigned and the Judge’s immediate family; (3) any person who executes
                                            and files a timely request for exclusion from the IMWL Class; (4) any persons who have had
                                            their claims in this matter finally adjudicated and/or otherwise released; and (5) the legal
                                            representatives, successors and assigns of any such excluded person. Plaintiff hereby reserves
                                            the right to amend the above class definition based on discovery and the proofs at trial.

                                                   135.    Numerosity. The IMWL Class is so numerous that joinder of all members is

                                            impracticable. Plaintiff estimates that the IMWL Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants


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                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of IMWL Class members should be readily
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                                            available from Defendants’ personnel, scheduling, time, and payroll records maintained in

                                            accordance with 29 U.S.C. § 211(c).

                                                   136.    Commonality and Predominance. There are questions of fact or law common to

                                            the IMWL Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and IMWL Class members’ Paystubs accurately
                                                                   reflected the amount of tips that Defendants’ customers bestowed upon
                                                                   Plaintiff and IMWL Class members;

                                                           b.      Whether Plaintiff and IMWL Class members were given Take Home Cash
                                                                   to account for what they believed, and accurately reported, to be the
                                                                   amount of tips that Defendants’ customers bestowed upon Plaintiff and
                                                                   IMWL Class members during a given shift;

                                                           c.      Whether Plaintiff and IMWL Class members were given any additional
                                                                   amounts, other than their Take Home Cash, to account for the amount of
                                                                   tips that Defendants’ customers bestowed upon Plaintiff and IMWL Class
                                                                   members during a given shift;

                                                           d.      Whether Plaintiff and IMWL Class members were given and allowed to
                                                                   keep all of the tips that Defendants’ customers bestowed upon Plaintiff
                                                                   and IMWL Class members;

                                                           e.      Whether Defendants retained the additional amounts in tips that
                                                                   Defendants’ customers bestowed upon Plaintiff and IMWL Class members
                                                                   over and above what Plaintiff and IMWL Class members were given in
                                                                   Take Home Cash;

                                                           f.      Whether Defendants were entitled to avail themselves of a tip credit
                                                                   relative to the hourly rate of compensation paid to Plaintiff and IMWL
                                                                   Class members;

                                                           g.      Whether Plaintiff and IMWL Class members were compensated at an
                                                                   hourly rate of pay that was less than the minimum rate of $8.25 per hour
                                                                   established by the IMWL;


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                                                           h.      Whether Plaintiff and the members of the IMWL Class have sustained
                                                                   damages and, if so, what is the proper measure of their damages; and
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                                                           i.      Whether Plaintiff and the members of the IMWL Class are entitled to the
                                                                   relief sought, including attorney’s fees.

                                                   137.    Adequacy. Plaintiff will fairly and adequately protect the interests of the IMWL

                                            Class. Plaintiff has retained the undersigned class counsel, who are competent and experienced in

                                            the prosecution of complex and class action litigation. The interests of Plaintiff are aligned with,

                                            and not antagonistic to, those of the IMWL Class.

                                                   138.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the IMWL Class. Also, the

                                            likelihood that individual members of the IMWL Class will prosecute separate actions is remote

                                            due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            IMWL Class members.

                                                                                 Substantive Allegations

                                                   139.    Plaintiff’s and IMWL Class members’ work activities were for the direct and

                                            substantial benefit of Defendants, and entitled them to wages, as defined by 820 ILCS 105/3(b).

                                                   140.    At all times relevant, Plaintiff’s and IMWL Class members’ hourly rate of pay,

                                            taken alone, was less than the minimum $8.25 per hour rate established by the IMWL. 820 ILCS

                                            105/4(a)(1).

                                                   141.    The amount of “Cash Tips” stated on Plaintiff’s and IMWL Class members’

                                            Paystubs accurately reflected the amount of tips that were bestowed upon Plaintiff and IMWL

                                            Class members by Defendants’ customers during their respective shifts.

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                                                   142.   However, the Take Home Cash that was given to Plaintiff and IMWL Class

                                            members was less than the amount of tips that were bestowed upon Plaintiff and IMWL Class
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                                            members by Defendants’ customers during their respective shifts (and less than the amount of

                                            “Cash Tips” that was accurately stated on Plaintiff’s and IMWL Class members’ Paystubs).

                                                   143.   Plaintiff and IMWL Class members did not receive any additional payments in

                                            connection with the tips that were bestowed upon them by Defendants’ customers other than the

                                            Take Home Cash they were given by Defendants.

                                                   144.   Plaintiff and IMWL Class members were not given and allowed to keep all of the

                                            tips that were bestowed upon them by Defendants’ customers by Defendants’ customers.

                                            Instead, Defendants uniformly retained the additional amounts in tips that were bestowed upon

                                            Plaintiff and IMWL Class members by Defendants’ customers over and above what Plaintiff and

                                            IMWL Class members were given in Take Home Cash.

                                                   145.   As such, Defendants cannot claim a tip credit with respect to Plaintiff and IMWL

                                            Class members (820 ILCS 105/4(c)), and Plaintiff and IMWL Class members were compensated

                                            at a rate less than the minimum wage established by the IMWL (820 ILCS 105/4(a)(1)).

                                                   146.   Moreover, Defendants unlawfully retained a portion of the tips that were

                                            bestowed upon Plaintiff and IMWL Class members. 820 ILCS 105/3(b).

                                                   147.   Plaintiff and IMWL Class members have been harmed as a direct and proximate

                                            result of Defendants’ unlawful conduct because they have been deprived of compensation at a

                                            rate not less the minimum wage established by the IMWL, as well as the full amount of tips

                                            bestowed upon them by Defendants’ customers.

                                                   148.   Defendants knew of the IMWL requirements described herein.

                                                   149.   Defendants’ violations of the IMWL requirements described herein were willful.

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                                                   150.   Pursuant to 820 ILCS 105/12(a), Plaintiff and IMWL Class members are entitled

                                            to: (1) compensation for all of the hours that they worked for Defendants’ benefit in an amount
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                                            equal to the difference between IMWL’s established minimum wage and Plaintiff’s and IMWL

                                            Class members’ hourly rate of compensation, irrespective of tip income; (2) compensation in an

                                            amount equal to the amount of tips bestowed upon Plaintiff and IMWL Class members by

                                            Defendants’ customers that Defendants retained; and (3) damages in an amount equal to 2% of

                                            the amount of all such unpaid compensation for each month following the date of payment

                                            during which such underpayments remain unpaid.

                                                   151.   Plaintiff and IMWL Class members are also entitled to reasonable attorneys’ fees

                                            and costs, pursuant to 820 ILCS 105/12(a).

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the IMWL Class, prays for an

                                            Order as follows:

                                                          A.     Finding that this action satisfies the prerequisites for maintenance as a
                                                                 Class Action, as set forth by 735 ILCS 5/2-801, and certifying the IMWL
                                                                 Class defined herein;

                                                          B.     Designating Plaintiff as representative of the IMWL Class and his
                                                                 undersigned counsel as IMWL Class Counsel;

                                                          C.     Entering judgment in favor of Plaintiff and the IMWL Class and against
                                                                 Defendants;

                                                          D.     Awarding Plaintiff and the IMWL Class all unpaid compensation to which
                                                                 they are entitled;

                                                          E.     Awarding Plaintiff and the IMWL Class damages in an amount equal to
                                                                 2% of the amount of all unpaid compensation for each month following
                                                                 the date of payment during which such underpayments remain unpaid;

                                                          F.     Awarding Plaintiff and the IMWL Class reasonable attorneys’ fees and
                                                                 costs; and


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                                                           G.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.
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                                                                                        COUNT III
                                                                  Violation of the Chicago Minimum Wage Ordinance
                                                                          (Chi. Mun. Code §§ 1-24-010, et seq.)
                                                                (On Behalf of Plaintiff and the Chicago Ordinance Class)

                                                   152.    Plaintiff repeats and realleges the allegations in Paragraphs 1-97 with the same

                                            force and effect as though fully set forth herein.

                                                                                  Class Action Allegations

                                                   153.    Plaintiff brings this Count as a Class Action on behalf of himself and the Chicago

                                            Ordinance Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   154.    Chicago Ordinance Class Definition: Plaintiff pursues the requested relief on

                                            behalf of the following Chicago Ordinance Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, (2) were compensated at an
                                                           hourly rate of pay, irrespective of tips, that was less than the applicable minimum
                                                           wage established by the section of the Chicago Ordinance pertaining to
                                                           employees who do not customarily receive tips, and (3) received, on or after July
                                                           1, 2015, a Paystub which stated that they were given a greater amount in “Cash
                                                           Tips” than they actually received in Take Home Cash.

                                            Excluded from the Chicago Ordinance Class are: (1) Defendants, Defendants’ agents,
                                            subsidiaries, parents, successors, predecessors, and any entity in which Defendants or their
                                            parents have a controlling interest, and those entities’ current and former employees, officers,
                                            and directors; (2) the Judge to whom this case is assigned and the Judge’s immediate family; (3)
                                            any person who executes and files a timely request for exclusion from the Chicago Ordinance
                                            Class; (4) any persons who have had their claims in this matter finally adjudicated and/or
                                            otherwise released; and (5) the legal representatives, successors and assigns of any such excluded
                                            person. Plaintiff hereby reserves the right to amend the above class definition based on
                                            discovery and the proofs at trial.

                                                   155.    Numerosity. The Chicago Ordinance Class is so numerous that joinder of all

                                            members is impracticable. Plaintiff estimates that the Chicago Ordinance Class, including both

                                            current and former employees over the time period relevant to this action, will include hundreds

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                                            of members. This is based on the fact that Defendants operated approximately twenty (20) bars

                                            and restaurants during the time period applicable to this action, and each bar and restaurant
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                                            employed about fifty (50) Servers at any given time. The precise number of Chicago Ordinance

                                            Class members should be readily available from Defendants’ personnel, scheduling, time, and

                                            payroll records maintained in accordance with 29 U.S.C. § 211(c).

                                                   156.   Commonality and Predominance. There are questions of fact or law common to

                                            the Chicago Ordinance Class, which predominate over any questions affecting only individual

                                            members including, inter alia, the following:

                                                          a.      Whether Plaintiff’s and Chicago Ordinance Class members’ Paystubs
                                                                  accurately reflected the amount of tips that Defendants’ customers
                                                                  bestowed upon Plaintiff and Chicago Ordinance Class members;

                                                          b.      Whether Plaintiff and Chicago Ordinance Class members were given Take
                                                                  Home Cash to account for what they believed, and accurately reported, to
                                                                  be the amount of tips that Defendants’ customers bestowed upon Plaintiff
                                                                  and Chicago Ordinance Class members during a given shift;

                                                          c.      Whether Plaintiff and Chicago Ordinance Class members were given any
                                                                  additional amounts, other than their Take Home Cash, to account for the
                                                                  amount of tips that Defendants’ customers bestowed upon Plaintiff and
                                                                  Chicago Ordinance Class members during a given shift;

                                                          d.      Whether Plaintiff and Chicago Ordinance Class members were given and
                                                                  allowed to keep all of the tips that Defendants’ customers bestowed upon
                                                                  Plaintiff and Chicago Ordinance Class members;

                                                          e.      Whether Defendants retained the additional amounts in tips that
                                                                  Defendants’ customers bestowed upon Plaintiff and Chicago Ordinance
                                                                  Class members over and above what Plaintiff and Chicago Ordinance
                                                                  Class members were given in Take Home Cash;

                                                          f.      Whether Defendants were entitled to avail themselves of the lesser
                                                                  minimum wage for tipped employees under the Chicago Ordinance
                                                                  relative to the hourly rate of compensation paid to Plaintiff and Chicago
                                                                  Ordinance Class members;



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                                                           g.     Whether Plaintiff and Chicago Ordinance Class members were
                                                                  compensated at an hourly rate of pay that was less than the applicable
                                                                  minimum per hour rate established by the Chicago Ordinance;
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                                                           h.     Whether Plaintiff and the members of the Chicago Ordinance Class have
                                                                  sustained damages and, if so, what is the proper measure of their damages;
                                                                  and

                                                           i.     Whether Plaintiff and the members of the Chicago Ordinance Class are
                                                                  entitled to the relief sought, including attorney’s fees.

                                                   157.    Adequacy. Plaintiff will fairly and adequately protect the interests of the Chicago

                                            Ordinance Class. Plaintiff has retained the undersigned class counsel, who are competent and

                                            experienced in the prosecution of complex and class action litigation. The interests of Plaintiff

                                            are aligned with, and not antagonistic to, those of the Chicago Ordinance Class.

                                                   158.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the Chicago Ordinance Class.

                                            Also, the likelihood that individual members of the Chicago Ordinance Class will prosecute

                                            separate actions is remote due to the extensive time and considerable expense necessary to

                                            conduct such litigation, especially in view of the relatively modest amount of monetary relief at

                                            issue for individual Chicago Ordinance Class members.

                                                                                Substantive Allegations

                                                   159.    Plaintiff’s and Chicago Ordinance Class members’ work activities were for the

                                            direct and substantial benefit of Defendants, and were performed while physically present within

                                            the geographic boundaries of the City of Chicago, Illinois. As such, Plaintiff and Chicago

                                            Ordinance Class members are “Covered Employees” as defined by Chi. Mun. Code § 1-24-010.




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                                                   160.   At all times relevant, Plaintiff’s and Chicago Ordinance Class members’ hourly

                                            rate of pay, taken alone, was less than the prevailing minimum per hour rate established by the
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                                            Chicago Ordinance relative to employees who do not receive tips. Chi. Mun. Code § 1-24-020.

                                                   161.   The amount of “Cash Tips” stated on Plaintiff’s and Chicago Ordinance Class

                                            members’ Paystubs accurately reflected the amount of tips that were bestowed upon Plaintiff and

                                            Chicago Ordinance Class members by Defendants’ customers during their respective shifts.

                                                   162.   However, the Take Home Cash that was given to Plaintiff and Chicago Ordinance

                                            Class members was less than the amount of tips that were bestowed upon Plaintiff and Chicago

                                            Ordinance Class members by Defendants’ customers during their respective shifts (and less than

                                            the amount of “Cash Tips” that was accurately stated on Plaintiff’s and Chicago Ordinance Class

                                            members’ Paystubs).

                                                   163.   Plaintiff and Chicago Ordinance Class members did not receive any additional

                                            payments in connection with the tips that were bestowed upon them by Defendants’ customers

                                            other than the Take Home Cash they were given by Defendants.

                                                   164.   Plaintiff and Chicago Ordinance Class members were not given and allowed to

                                            keep all of the tips that were bestowed upon them by Defendants’ customers by Defendants’

                                            customers. Instead, Defendants uniformly retained the additional amounts in tips that were

                                            bestowed upon Plaintiff and Chicago Ordinance Class members by Defendants’ customers over

                                            and above what Plaintiff and Chicago Ordinance Class members were given in Take Home Cash.

                                                   165.   As such, Defendants cannot avail themselves of the lesser minimum wage for

                                            tipped employees under the Chicago Ordinance relative to the hourly rate of compensation paid

                                            to Plaintiff and Chicago Ordinance Class members (Chi. Mun. Code § 1-24-030), and Plaintiff



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                                            and Chicago Ordinance Class members were compensated at a rate less than the applicable

                                            minimum wage established by the Chicago Ordinance (Chi. Mun. Code § 1-24-020).
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                                                   166.     Moreover, Defendants unlawfully retained a portion of the tips that Defendants’

                                            customers bestowed upon Plaintiff and Chicago Ordinance Class members. Chi. Mun. Code § 1-

                                            24-010.

                                                   167.     Plaintiff and Chicago Ordinance Class members have been harmed as a direct and

                                            proximate result of Defendants’ unlawful conduct because they have been deprived of

                                            compensation at a rate not less the minimum wage established by the Chicago Ordinance, as well

                                            as the full amount of tips bestowed upon them by Defendants’ customers.

                                                   168.     Defendants knew of the Chicago Ordinance requirements described herein.

                                                   169.     Defendants’ violations of the Chicago Ordinance requirements described herein

                                            were willful.

                                                   170.     Pursuant to Chi. Mun. Code § 1-24-110, Plaintiff and Chicago Ordinance Class

                                            members are entitled to recover three times the amount of compensation owed for all of the

                                            hours that they worked for Defendants’ benefit in an amount equal to the difference between

                                            Chicago Ordinance’s established minimum wage for employees who do not receive tips and

                                            Plaintiff’s and Chicago Ordinance Class members’ hourly rate of compensation, irrespective of

                                            tip income, plus the amount of tips bestowed upon Plaintiff and Chicago Ordinance Class

                                            members by Defendants’ customers that Defendants retained.

                                                   171.     Plaintiff and Chicago Ordinance Class members are also entitled to reasonable

                                            attorneys’ fees and costs, pursuant to Chi. Mun. Code § 1-24-110.




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                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Chicago Ordinance Class,

                                            prays for an Order as follows:
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                                                           A.       Finding that this action satisfies the prerequisites for maintenance as a
                                                                    Class Action, as set forth by 735 ILCS 5/2-801, and certifying the Chicago
                                                                    Ordinance Class defined herein;

                                                           B.       Designating Plaintiff as representative of the Chicago Ordinance Class and
                                                                    his undersigned counsel as Chicago Ordinance Class Counsel;

                                                           C.       Entering judgment in favor of Plaintiff and the Chicago Ordinance Class
                                                                    and against Defendants;

                                                           D.       Awarding Plaintiff and the Chicago Ordinance Class an amount equal to
                                                                    three times the amount of all unpaid compensation to which they are
                                                                    entitled;

                                                           E.       Awarding Plaintiff and the Chicago Ordinance Class reasonable attorneys’
                                                                    fees and costs; and

                                                           F.       Granting all such further and other relief as the Court deems just and
                                                                    appropriate.

                                                                                         COUNT IV
                                                                Violation of the Illinois Wage Payment and Collection Act
                                                                                  (820 ILCS 115/1, et seq.)
                                                                      (On Behalf of Plaintiff and the IWPCA Class)

                                                   172.    Plaintiff repeats and realleges the allegations in Paragraphs 1-97 with the same

                                            force and effect as though fully set forth herein.

                                                                                  Class Action Allegations

                                                   173.    Plaintiff brings this Count as a Class Action on behalf of himself and the IWPCA

                                            Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   174.    IWPCA Class Definition: Plaintiff pursues the requested relief on behalf of the

                                            following IWPCA Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, (2) were compensated at an
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                                                           hourly rate of pay, irrespective of tips, that was less than the applicable minimum
                                                           wage, and (3) received, on or after July 19, 2008, a Paystub which stated that they
                                                           were given a greater amount in “Cash Tips” than they actually received in Take
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                                                           Home Cash.

                                            Excluded from the IWPCA Class are: (1) Defendants, Defendants’ agents, subsidiaries, parents,
                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling
                                            interest, and those entities’ current and former employees, officers, and directors; (2) the Judge
                                            to whom this case is assigned and the Judge’s immediate family; (3) any person who executes
                                            and files a timely request for exclusion from the IWPCA Class; (4) any persons who have had
                                            their claims in this matter finally adjudicated and/or otherwise released; and (5) the legal
                                            representatives, successors and assigns of any such excluded person. Plaintiff hereby reserves
                                            the right to amend the above class definition based on discovery and the proofs at trial.

                                                   175.    Numerosity. The IWPCA Class is so numerous that joinder of all members is

                                            impracticable. Plaintiff estimates that the IWPCA Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of IWPCA Class members should be readily

                                            available from Defendants’ personnel, scheduling, time, and payroll records maintained in

                                            accordance with 29 U.S.C. § 211(c).

                                                   176.    Commonality and Predominance. There are questions of fact or law common to

                                            the IWPCA Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and IWPCA Class members’ Paystubs accurately
                                                                   reflected the amount of tips that Defendants’ customers bestowed upon
                                                                   Plaintiff and IWPCA Class members;

                                                           b.      Whether Plaintiff and IWPCA Class members were given Take Home
                                                                   Cash to account for what they believed, and accurately reported, to be the
                                                                   amount of tips that Defendants’ customers bestowed upon Plaintiff and
                                                                   IWPCA Class members during a given shift;


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                                                           c.      Whether Plaintiff and IWPCA Class members were given any additional
                                                                   amounts, other than their Take Home Cash, to account for the amount of
                                                                   tips that Defendants’ customers bestowed upon Plaintiff and IWPCA Class
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                                                                   members during a given shift;

                                                           d.      Whether Plaintiff and IWPCA Class members were given and allowed to
                                                                   keep all of the tips that Defendants’ customers bestowed upon Plaintiff
                                                                   and IWPCA Class members;

                                                           e.      Whether Defendants retained the additional amounts in tips that
                                                                   Defendants’ customers bestowed upon Plaintiff and IWPCA Class
                                                                   members over and above what Plaintiff and IWPCA Class members were
                                                                   given in Take Home Cash;

                                                           f.      Whether Defendants were entitled to avail themselves of a tip credit
                                                                   relative to the hourly rate of compensation paid to Plaintiff and IWPCA
                                                                   Class members;

                                                           g.      Whether Defendants agreed to compensate Plaintiff and IWPCA Class
                                                                   members at an hourly rate that complied with the applicable minimum
                                                                   wage, and to allow Plaintiff and IWPCA Class members to retain all tips
                                                                   bestowed upon Plaintiff and IWPCA Class members by Defendants’
                                                                   customers;

                                                           h.      Whether Plaintiff and IWPCA Class members were compensated at an
                                                                   hourly rate of pay that was less than the hourly rate agreed upon between
                                                                   Plaintiff and IWPCA Class members;

                                                           i.      Whether Plaintiff and the members of the IWPCA Class have sustained
                                                                   damages and, if so, what is the proper measure of their damages; and

                                                           j.      Whether Plaintiff and the members of the IWPCA Class are entitled to the
                                                                   relief sought, including attorney’s fees.

                                                   177.    Adequacy. Plaintiff will fairly and adequately protect the interests of the IWPCA

                                            Class. Plaintiff has retained the undersigned class counsel, who are competent and experienced in

                                            the prosecution of complex and class action litigation. The interests of Plaintiff are aligned with,

                                            and not antagonistic to, those of the IWPCA Class.

                                                   178.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

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                                            predominate over questions affecting only individual members of the IWPCA Class. Also, the

                                            likelihood that individual members of the IWPCA Class will prosecute separate actions is remote
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                                            due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            IWPCA Class members.

                                                                                Substantive Allegations

                                                   179.   Plaintiff’s and IWPCA Class members’ work activities were for the direct and

                                            substantial benefit of Defendants, and entitled them to wages, as defined by 820 ILCS 115/2.

                                                   180.   Defendants agreed to compensate Plaintiff and IWPCA Class members at an

                                            hourly rate that complied with the applicable minimum wage, and to allow Plaintiff and IWPCA

                                            Class members to retain all tips bestowed upon Plaintiff and IWPCA Class members by

                                            Defendants’ customers.

                                                   181.   At all times relevant, Plaintiff’s and IWPCA Class members’ hourly rate of pay,

                                            taken alone, was less than the prevailing minimum per hour rate established by law. 29 U.S.C. §

                                            206(a)(1)(C); 820 ILCS 105/4(a)(1); Chi. Mun. Code § 1-24-020.

                                                   182.   The amount of “Cash Tips” stated on Plaintiff’s and IWPCA Class members’

                                            Paystubs accurately reflected the amount of tips that were bestowed upon Plaintiff and IWPCA

                                            Class members by Defendants’ customers during their respective shifts.

                                                   183.   However, the Take Home Cash that was given to Plaintiff and IWPCA Class

                                            members was less than the amount of tips that were bestowed upon Plaintiff and IWPCA Class

                                            members by Defendants’ customers during their respective shifts (and less than the amount of

                                            “Cash Tips” that was accurately stated on Plaintiff’s and IWPCA Class members’ Paystubs).



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                                                   184.   Plaintiff and IWPCA Class members did not receive any additional payments in

                                            connection with the tips that were bestowed upon them by Defendants’ customers other than the
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                                            Take Home Cash they were given by Defendants.

                                                   185.   Plaintiff and IWPCA Class members were not given and allowed to keep all of

                                            the tips that were bestowed upon them by Defendants’ customers by Defendants’ customers.

                                            Instead, Defendants uniformly retained the additional amounts in tips that were bestowed upon

                                            Plaintiff and IWPCA Class members by Defendants’ customers over and above what Plaintiff

                                            and IWPCA Class members were given in Take Home Cash.

                                                   186.   As such, Defendants cannot claim a tip credit with respect to Plaintiff and IWPCA

                                            Class members, and Plaintiff and IWPCA Class members were compensated at a rate less than

                                            the prevailing minimum per hour rate established by law. 29 U.S.C. § 206(a)(1)(C); 820 ILCS

                                            105/4(a)(1); Chi. Mun. Code § 1-24-020.

                                                   187.   Due to the fact that Plaintiff and IWPCA Class members were compensated at a

                                            rate less than the prevailing minimum per hour rate established by law, and Defendants

                                            unlawfully retained a portion of the tips that Defendants’ customers bestowed upon Plaintiff and

                                            IWPCA Class members, Defendants failed to pay Plaintiff and IWPCA Class members the full

                                            amount of wages to which they were entitled, as required by the IWPCA. 820 ILCS 115/4.

                                                   188.   Plaintiff and IWPCA Class members have been harmed as a direct and proximate

                                            result of Defendants’ unlawful conduct because they have been deprived of compensation at a

                                            rate not less the minimum wage established by the IMWL, as well as the full amount of tips

                                            bestowed upon them by Defendants’ customers.

                                                   189.   Defendants knew of the IWPCA requirements described herein.

                                                   190.   Defendants’ violations of the IWPCA requirements described herein were willful.

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                                                   191.   Pursuant to 820 ILCS 115/14(a), Plaintiff and IWPCA Class members are entitled

                                            to: (1) compensation for all of the hours that they worked for Defendants’ benefit in an amount
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                                            equal to the difference between applicable minimum wage and Plaintiff’s and IWPCA Class

                                            members’ hourly rate of compensation, irrespective of tip income, that was not paid within 13

                                            days after the bi-weekly pay period in which that compensation was earned, (2) compensation in

                                            an amount equal to the amount of tips bestowed upon Plaintiff and IWPCA Class members by

                                            Defendants’ customers that Defendants retained, that was not paid within 13 days after the bi-

                                            weekly pay period in which that compensation was earned; and (3) damages in an amount equal

                                            to 2% of the amount of all such unpaid compensation for each month following the date of

                                            payment during which such underpayments remain unpaid.

                                                   192.   Plaintiff and IWPCA Class members are also entitled to reasonable attorneys’ fees

                                            and costs, pursuant to 820 ILCS 115/14(a).

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the IWPCA Class, prays for an

                                            Order as follows:

                                                          A.     Finding that this action satisfies the prerequisites for maintenance as a
                                                                 Class Action, as set forth by 735 ILCS 5/2-801, and certifying the IWPCA
                                                                 Class defined herein;

                                                          B.     Designating Plaintiff as representative of the IWPCA Class and his
                                                                 undersigned counsel as IWPCA Class Counsel;

                                                          C.     Entering judgment in favor of Plaintiff and the IWPCA Class and against
                                                                 Defendants;

                                                          D.     Awarding Plaintiff and the IWPCA Class all unpaid compensation to
                                                                 which they are entitled;

                                                          E.     Awarding Plaintiff and the IWPCA Class damages in an amount equal to
                                                                 2% of the amount of all unpaid compensation for each month following
                                                                 the date of payment during which such underpayments remain unpaid;

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                                                           F.      Awarding Plaintiff and the IWPCA Class reasonable attorneys’ fees and
                                                                   costs; and
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                                                           G.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.

                                                                                      COUNT V
                                                                                     Conversion
                                                                   (On Behalf of Plaintiff and the Conversion Class)

                                                   193.    Plaintiff repeats and realleges the allegations in Paragraphs 1-97 with the same

                                            force and effect as though fully set forth herein.

                                                                                  Class Action Allegations

                                                   194.    Plaintiff brings this Count as a Class Action on behalf of himself and the

                                            Conversion Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   195.    Conversion Class Definition: Plaintiff pursues the requested relief on behalf of

                                            the following Conversion Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, and (2) received, on or after
                                                           July 19, 2013, a Paystub which stated that they were given a greater amount in
                                                           “Cash Tips” than they actually received in Take Home Cash.

                                            Excluded from the Conversion Class are: (1) Defendants, Defendants’ agents, subsidiaries,
                                            parents, successors, predecessors, and any entity in which Defendants or their parents have a
                                            controlling interest, and those entities’ current and former employees, officers, and directors; (2)
                                            the Judge to whom this case is assigned and the Judge’s immediate family; (3) any person who
                                            executes and files a timely request for exclusion from the Conversion Class; (4) any persons who
                                            have had their claims in this matter finally adjudicated and/or otherwise released; and (5) the
                                            legal representatives, successors and assigns of any such excluded person. Plaintiff hereby
                                            reserves the right to amend the above class definition based on discovery and the proofs at trial.

                                                   196.    Numerosity. The Conversion Class is so numerous that joinder of all members is

                                            impracticable. Plaintiff estimates that the Conversion Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

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                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of Conversion Class members should be
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                                            readily available from Defendants’ personnel, scheduling, time, and payroll records maintained

                                            in accordance with 29 U.S.C. § 211(c).

                                                   197.    Commonality and Predominance. There are questions of fact or law common to

                                            the Conversion Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and Conversion Class members’ Paystubs accurately
                                                                   reflected the amount of tips that Defendants’ customers bestowed upon
                                                                   Plaintiff and Conversion Class members;

                                                           b.      Whether Plaintiff and Conversion Class members were given Take Home
                                                                   Cash to account for what they believed, and accurately reported, to be the
                                                                   amount of tips that Defendants’ customers bestowed upon Plaintiff and
                                                                   Conversion Class members during a given shift;

                                                           c.      Whether Plaintiff and Conversion Class members were given any
                                                                   additional amounts, other than their Take Home Cash, to account for the
                                                                   amount of tips that Defendants’ customers bestowed upon Plaintiff and
                                                                   Conversion Class members during a given shift;

                                                           d.      Whether Plaintiff and Conversion Class members were given and allowed
                                                                   to keep all of the tips that Defendants’ customers bestowed upon Plaintiff
                                                                   and Conversion Class members;

                                                           e.      Whether Defendants retained the additional amounts in tips that
                                                                   Defendants’ customers bestowed upon Plaintiff and Conversion Class
                                                                   members over and above what Plaintiff and Conversion Class members
                                                                   were given in Take Home Cash;

                                                           f.      Whether Plaintiff and the members of the Conversion Class have sustained
                                                                   damages and, if so, what is the proper measure of their damages; and

                                                           g.      Whether Plaintiff and the members of the Conversion Class are entitled to
                                                                   the relief sought, including attorney’s fees.

                                                   198.    Adequacy.     Plaintiff will fairly and adequately protect the interests of the

                                            Conversion Class. Plaintiff has retained the undersigned class counsel, who are competent and
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                                            experienced in the prosecution of complex and class action litigation. The interests of Plaintiff

                                            are aligned with, and not antagonistic to, those of the Conversion Class.
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                                                   199.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the Conversion Class. Also,

                                            the likelihood that individual members of the Conversion Class will prosecute separate actions is

                                            remote due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            Conversion Class members.

                                                                                 Substantive Allegations

                                                   200.    To state a claim for conversion, “a plaintiff must allege (1) the defendant’s

                                            unauthorized and wrongful assumption of control, dominion or ownership over the plaintiff’s

                                            personal property, (2) the plaintiff’s right in the property, (3) the plaintiff’s right to immediate

                                            possession of the property, absolutely and unconditionally, and (4) the plaintiff’s demand for

                                            possession of the property.” E.g., Roderick, 282 Ill.App.3d at 1057.

                                                   201.    The full amount of tips bestowed upon Plaintiff and Conversion Class members

                                            by Defendants’ customers were in recognition of services provided by Plaintiff and Conversion

                                            Class members, and are Plaintiff’s and Conversion Class members’ property. 29 CFR § 531.52.

                                                   202.    The tips bestowed upon Plaintiff and Conversion Class members by Defendants’

                                            customers are specific sums of money, and are not debts owed by Defendants to Plaintiff and

                                            Conversion Class members.

                                                   203.    Plaintiff and Conversion Class members entrusted the tips they received from

                                            Defendants’ customers—i.e., their property—to Defendants, on a temporary basis, with the

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                                            mutual understanding that the entirety of those tips would be returned in the form of Take Home

                                            Cash after their respective shifts ended.
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                                                   204.    After their respective shifts ended, Plaintiff and Conversion Class members

                                            became immediately entitled to the return of their property—i.e., the entirety of the tips

                                            bestowed upon them by Defendants’ customers—in the form of Take Home Cash.

                                                   205.    The amount of “Cash Tips” stated on Plaintiff’s and Conversion Class members’

                                            Paystubs accurately reflected the amount of tips that were bestowed upon Plaintiff and

                                            Conversion Class members by Defendants’ customers during their respective shifts.

                                                   206.    However, the Take Home Cash that was given to Plaintiff and Conversion Class

                                            members was less than the amount of tips that were bestowed upon Plaintiff and Conversion

                                            Class members by Defendants’ customers during their respective shifts (and less than the amount

                                            of “Cash Tips” that was accurately stated on Plaintiff’s and Conversion Class members’

                                            Paystubs).

                                                   207.    Plaintiff and Conversion Class members did not receive any additional payments

                                            in connection with the tips that were bestowed upon them by Defendants’ customers other than

                                            the Take Home Cash they were given by Defendants.

                                                   208.    After their respective shifts ended, Plaintiff and Conversion Class members

                                            demanded that Defendants return all of the tips bestowed upon them by Defendants’ customers—

                                            i.e., their property—in the form of Take Home Cash. However, Defendants uniformly retained

                                            the additional amounts in tips bestowed upon Plaintiff and Conversion Class members by

                                            Defendants’ customers over and above what Plaintiff and Conversion Class members were given

                                            in Take Home Cash.



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                                                    209.   As such, Defendants unlawfully retained Plaintiff’s and Conversion Class

                                            members’ property—i.e., the tips that were bestowed upon Plaintiff and Conversion Class
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                                            members by Defendants’ customers but which were not given to Plaintiff and Conversion Class

                                            members in the form of Take Home Cash.

                                                    210.   Defendants have continued to unlawfully exercise possession over Plaintiff’s and

                                            Conversion Class members’ property. Plaintiff, individually, and on behalf of the Conversion

                                            Class, demanded that Defendants return Plaintiff’s and Conversion Class members’ property—

                                            i.e., the tips that Defendants’ customers bestowed upon Plaintiff and Conversion Class members

                                            but which were not given to Plaintiff and Conversion Class members in the form of Take Home

                                            Cash.

                                                    211.   Plaintiff and Conversion Class members have been harmed as a direct and

                                            proximate result of Defendants’ unlawful conduct because they have been deprived of immediate

                                            and continued possession of their property—i.e., the tips that Defendants’ customers bestowed

                                            upon Plaintiff and Conversion Class members but which were not given to Plaintiff and

                                            Conversion Class members in the form of Take Home Cash.

                                                    212.   Defendants knew that they were in possession of Plaintiff’s and Conversion Class

                                            members’ property, Plaintiff’s and Conversion Class members’ immediate right to possession of

                                            their property, and Plaintiff’s and Conversion Class members’ demands for the return of their

                                            property. Nevertheless, Defendants have refused to return Plaintiff’s and Conversion Class

                                            members’ property.

                                                    213.   Accordingly, Plaintiff, individually, and on behalf of the Conversion Class, seeks

                                            recovery of the property—i.e., the tips that Defendants’ customers bestowed upon Plaintiff and



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                                            Conversion Class members but which were not given to Plaintiff and Conversion Class members

                                            in the form of Take Home Cash—that has been unlawfully converted by Defendants.
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                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Conversion Class, prays for

                                            an Order as follows:

                                                           A.      Finding that this action satisfies the prerequisites for maintenance as a
                                                                   Class Action, as set forth by 735 ILCS 5/2-801, and certifying the
                                                                   Conversion Class defined herein;

                                                           B.      Designating Plaintiff as representative of the Conversion Class and his
                                                                   undersigned counsel as Conversion Class Counsel;

                                                           C.      Entering judgment in favor of Plaintiff and the Conversion Class and
                                                                   against Defendants;

                                                           D.      Commanding Defendants to return Plaintiff’s and Conversion Class
                                                                   members’ property (i.e., the full amount of tips that were bestowed upon
                                                                   Plaintiff and Conversion Class members by Defendants’ customers);

                                                           E.      Awarding Plaintiff and the Conversion Class reasonable attorneys’ fees
                                                                   and costs; and

                                                           F.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.

                                                                                       COUNT VI
                                                                Violation of Section 7434 of the Internal Revenue Code
                                                                                    (26 U.S.C. § 7434)
                                                                   (On Behalf of Plaintiff and the Tax Fraud Class)
                                                                       (In the Alternative to Counts I through V)

                                                   214.    Plaintiff repeats and realleges the allegations in Paragraphs 1-67 and 98-107 with

                                            the same force and effect as though fully set forth herein.

                                                   215.    Plaintiff brings this Count in the alternative to Counts I through V set forth above.

                                                                                 Class Action Allegations

                                                   216.    Plaintiff brings this Count as a Class Action on behalf of himself and the Tax

                                            Fraud Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.
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                                                   217.    Tax Fraud Class Definition: Plaintiff pursues the requested relief on behalf of

                                            the following Tax Fraud Class:
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                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, during the applicable statute
                                                           of limitations period, and (2) received a W-2 from at least one Defendant which
                                                           (a) stated that they received a greater amount in wage income from Defendants
                                                           and tips bestowed upon them by Defendants’ customers than they actually
                                                           received in hourly compensation and Take Home Cash, and (b) was filed by said
                                                           Defendant with the United States government on or after July 19, 2012.

                                            Excluded from the Tax Fraud Class are: (1) Defendants, Defendants’ agents, subsidiaries,
                                            parents, successors, predecessors, and any entity in which Defendants or their parents have a
                                            controlling interest, and those entities’ current and former employees, officers, and directors; (2)
                                            the Judge to whom this case is assigned and the Judge’s immediate family; (3) any person who
                                            executes and files a timely request for exclusion from the Tax Fraud Class; (4) any persons who
                                            have had their claims in this matter finally adjudicated and/or otherwise released; and (5) the
                                            legal representatives, successors and assigns of any such excluded person. Plaintiff hereby
                                            reserves the right to amend the above class definition based on discovery and the proofs at trial.

                                                   218.    Numerosity. The Tax Fraud Class is so numerous that joinder of all members is

                                            impracticable. Plaintiff estimates that the Tax Fraud Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of Tax Fraud Class members should be

                                            readily available from Defendants’ personnel, scheduling, time, and payroll records maintained

                                            in accordance with 29 U.S.C. § 211(c).

                                                   219.    Commonality and Predominance. There are questions of fact or law common to

                                            the Tax Fraud Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and Tax Fraud Class members’ Paystubs and W-2s
                                                                   accurately reflected the amount of Take Home Cash that Plaintiff and Tax
                                                                   Fraud Class members were given by Defendants in connection with the
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                                                                   tips that Defendants’ customers bestowed upon Plaintiff and Tax Fraud
                                                                   Class members;
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                                                           b.      Whether Defendants engaged in fraud by overstating the amount of
                                                                   compensation Defendants paid to Plaintiff and Tax Fraud Class members
                                                                   on Plaintiff’s and Tax Fraud Class members’ Paystubs and W-2s;

                                                           c.      Whether Defendants willfully filed fraudulent W-2s with the United States
                                                                   government that overstated the amount of compensation Defendants paid
                                                                   to Plaintiff and Tax Fraud Class members;

                                                           d.      Whether Plaintiff and the members of the Tax Fraud Class have sustained
                                                                   damages and, if so, what is the proper measure of their damages; and

                                                           e.      Whether Plaintiff and the members of the Tax Fraud Class are entitled to
                                                                   the relief sought, including attorney’s fees.

                                                   220.    Adequacy. Plaintiff will fairly and adequately protect the interests of the Tax

                                            Fraud Class. Plaintiff has retained the undersigned class counsel, who are competent and

                                            experienced in the prosecution of complex and class action litigation. The interests of Plaintiff

                                            are aligned with, and not antagonistic to, those of the Tax Fraud Class.

                                                   221.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the Tax Fraud Class. Also, the

                                            likelihood that individual members of the Tax Fraud Class will prosecute separate actions is

                                            remote due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual Tax

                                            Fraud Class members.

                                                                                 Substantive Allegations

                                                   222.    Pursuant to the IRC Statute, “if any person willfully files a fraudulent information

                                            return with respect to payments purported to be made to any other person, such other person may

                                            bring a civil action for damages against the person so filing such return.” 26 U.S.C. § 7434(a).
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                                                   223.   As the employers of Plaintiff and Tax Fraud Class members, Defendants issued

                                            W-2s to Plaintiff and Tax Fraud Class members on an annual basis.
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                                                   224.   The particular Defendant that issued a W-2 to Plaintiff and each of the Tax Fraud

                                            Class members depended upon which Defendant was responsible for tax reporting relative to

                                            Plaintiff and each Tax Fraud Class member. Relative to Plaintiff, Defendant Wells Holdings,

                                            LLC d/b/a Benchmark Bar and Grill issued Plaintiff’s W-2s.

                                                   225.   The W-2s issued to Plaintiff and Tax Fraud Class members by Defendants are

                                            “information returns” as defined by 26 U.S.C. § 7434(f). 26 U.S.C. § 6724(d)(1)(A); 26 CFR §

                                            31.6051-2(a). The W-2s issued to Plaintiff and Tax Fraud Class members by Defendants are also

                                            “payee statements,” as defined by 26 U.S.C. § 6724(d)(2).

                                                   226.   For purposes of the W-2s issued by Defendants to Plaintiff and Tax Fraud Class

                                            members, the hourly compensation that Defendants paid to Plaintiff and Tax Fraud Class

                                            members, as well as the tips that Defendants’ customers bestowed upon Plaintiff and Tax Fraud

                                            Class members, constituted “wages.” 26 U.S.C. § 3121(a); 26 U.S.C. § 3401(a) & (f).

                                                   227.   Defendants calculated the “wages” on Plaintiff’s and Tax Fraud Class members’

                                            W-2s using the information on Plaintiff’s and Tax Fraud Class members’ Paystubs from the

                                            applicable calendar year. Put another way, the “wages” reflected on the W-2s that Defendants

                                            issued to Plaintiff and Tax Fraud Class members were derived by adding the amount of hourly

                                            compensation that Plaintiff and Tax Fraud Class members earned during the prior calendar

                                            year—as reflected Plaintiff’s and Tax Fraud Class members’ Paystubs—to the amount of “Cash

                                            Tips” stated on Plaintiff’s and Tax Fraud Class members’ Paystubs from the prior calendar year.

                                                   228.   However, the “Cash Tips” stated on Plaintiff’s and Tax Fraud Class members’

                                            Paystubs inaccurately reflected the amount of Take Home Cash that Plaintiff and Tax Fraud

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                                            Class members were given by Defendants in connection with tips bestowed upon Plaintiff and

                                            Tax Fraud Class members by Defendants’ customers during their respective shifts. In actuality,
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                                            Plaintiff and Tax Fraud Class members received a lesser amount in Take Home Cash in

                                            connection with tips bestowed upon them by Defendants’ customers than the amount of “Cash

                                            Tips” stated on their Paystubs.

                                                   229.    As such, the W-2s issued by Defendants to Plaintiff and Tax Fraud Class members

                                            overstated the amount of “wages” that Plaintiff and Tax Fraud Class members earned during the

                                            prior calendar year.

                                                   230.    Defendants filed the W-2s issued that they to Plaintiff and Tax Fraud Class

                                            members with the United States government, as required by 26 CFR § 31.6051-2(a).

                                                   231.    Defendants knew the information on the W-2s that they issued to Plaintiff and Tax

                                            Fraud Class members was false because Plaintiff and Tax Fraud Class members accurately

                                            declared in Defendants’ POS system the amount of tips bestowed upon them by Defendants’

                                            customers—as required by 26 U.S.C. § 6053(a) and 26 CFR § 31.6053-1(a)—and Defendants

                                            had a duty to keep accurate records relative to the amount of tips declared by Plaintiff and Tax

                                            Fraud Class members in Defendants’ POS system—as required by 26 CFR § 31.6001-1(a).

                                                   232.    Plaintiff and Tax Fraud Class members reasonably believed that the information

                                            in the W-2s issued by Defendants was accurate, and relied upon that information, because

                                            Defendants had a duty to file correct information returns with the United States government—

                                            pursuant to 26 U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish Plaintiff and Tax

                                            Fraud Class members with correct payee statements—pursuant to 26 U.S.C. § 6722(a)(2)(B) and

                                            26 CFR 301.6722-1. Plaintiff and Tax Fraud Class members also reasonably believed that the

                                            information in the W-2s and Paystubs issued by Defendants was accurate, and relied upon that

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                                            information, because Defendants had a duty to keep accurate records relative to the amount of

                                            tips declared by Plaintiff and Tax Fraud Class members in Defendants’ POS system—pursuant to
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                                            26 CFR § 31.6001-1(a).      Indeed, unlike Defendants, there is no mandatory recordkeeping

                                            requirement imposed on Plaintiff and Tax Fraud Class members. 26 CFR § 31.6001-1(d).

                                            Moreover, “the fact that the [W-2s were] filed for public record amounts to…a guarantee” that

                                            the W-2s were accurate. Lehmann v. Arnold, 137 Ill.App.3d 412, 421 (4th Dist. 1985).

                                                   233.   For the same reasons, Defendants knew and intended that Plaintiff and Tax Fraud

                                            Class members would rely on the information in the W-2s and Paystubs issued by Defendants.

                                                   234.   Accordingly, in filing the W-2s issued by Defendants to Plaintiff and Tax Fraud

                                            Class members—which contained incorrect information as to the amount of “wages” Plaintiff

                                            and Tax Fraud Class members earned—Defendants filed fraudulent information returns with the

                                            United States government in violation of 26 U.S.C. § 7434(a).

                                                   235.   The particular Defendant that filed a fraudulent W-2 issued to Plaintiff and each

                                            of the Tax Fraud Class members depended upon which Defendant was responsible for tax

                                            reporting relative to Plaintiff and each Tax Fraud Class member. Relative to Plaintiff, Defendant

                                            Wells Holdings, LLC d/b/a Benchmark Bar and Grill filed the fraudulent W-2s.

                                                   236.   On information and belief, Defendants’ filing of the fraudulent W-2s that they

                                            issued to Plaintiff and Tax Fraud Class members was part of a willful scheme to shift the burden

                                            of paying taxes to Plaintiff and Tax Fraud Class members so that Defendants could covertly

                                            retain income without paying taxes, or avoid paying the minimum hourly rate of pay under

                                            applicable minimum wage laws.

                                                   237.   For example, by overstating the amount of tip income that Defendants gave to

                                            Plaintiff and Tax Fraud Class members from Defendants’ gross receipts, Defendants can

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                                            concomitantly understate the amount of net income Defendants generated after those amounts

                                            are deducted. To demonstrate, if one of Defendants’ customers was charged $100 for a meal, and
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                                            left an additional $20 as a tip for his/her Server, Defendants’ gross income would be $120, and

                                            Defendants’ net income would be $100 for that customer. However, if Defendants report that the

                                            customer’s Server received a $40 tip from the customer, Defendants can report net income of

                                            $80, while still reporting gross income of $120. In this scenario, the Server would be required to

                                            pay taxes on $40 of income, even though he/she only received $20, whereas Defendants would

                                            only be required to pay taxes on $80 of net income, even though they would have actually

                                            received $100.6

                                                    238.    As another example, by overstating the amount of money that Defendants gave to

                                            Plaintiff and Tax Fraud Class members, Defendants can ensure that they can always avail

                                            themselves of a tip credit with respect to the compensation paid to Plaintiff and Tax Fraud Class

                                            members, and do not have to pay Plaintiff and Tax Fraud Class members for any shortfall in the

                                            hourly rate of pay. In doing so, Defendants reduce their operating costs, and can therefore retain

                                            a greater portion of their gross income for their own benefit.

                                                    239.    Although the precise mechanism by which Defendants benefitted from these

                                            practices is unknown, it can be proven through discovery after a review of Defendants’ internal

                                            records and financial statements.

                                                    240.    Because the amount of “wages” stated on the W-2s issued by Defendants to

                                            Plaintiff and Tax Fraud Class members overstated the amount of “wages” that Plaintiff and Tax

                                            Fraud Class members actually earned during the prior calendar year, Plaintiff and Tax Fraud

                                            Class members were required to pay income tax on income that they did not actually receive.

                                            6
                                             The fact that Four Corners is composed of over 20 different, interconnected entities would also facilitate
                                            Defendants’ concealing the precise amount of net income they received in a calendar year.
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                                                   241.    As a direct and proximate result of the foregoing, Plaintiff and Tax Fraud Class

                                            members were harmed by Defendants’ conduct described herein because they were required to
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                                            pay a greater amount in income tax than they otherwise should have been, had their W-2s been

                                            accurate.

                                                   242.    Pursuant to 26 U.S.C. § 7434(b), Plaintiff and Tax Fraud Class members are each

                                            entitled to the greater of: (1) statutory damages of $5,000; or (2) the sum of their actual damages,

                                            the costs of this action, and reasonable attorneys’ fees and costs.

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Tax Fraud Class, prays for an

                                            Order as follows:

                                                           A.      Finding that this action satisfies the prerequisites for maintenance as a
                                                                   Class Action, as set forth by 735 ILCS 5/2-801, and certifying the Tax
                                                                   Fraud Class defined herein;

                                                           B.      Designating Plaintiff as representative of the Tax Fraud Class and his
                                                                   undersigned counsel as Tax Fraud Class Counsel;

                                                           C.      Entering judgment in favor of Plaintiff and the Tax Fraud Class and
                                                                   against Defendants;

                                                           D.      Awarding Plaintiff and the Tax Fraud Class the greater of: (1) statutory
                                                                   damages of $5,000; or (2) the sum of their actual damages, the costs of
                                                                   this action, and reasonable attorneys’ fees and costs, as provided for by 26
                                                                   U.S.C. § 7434(b);

                                                           E.      Awarding Plaintiff and the Tax Fraud Class reasonable attorneys’ fees and
                                                                   costs; and

                                                           F.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.




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                                                                                      COUNT VII
                                                        Violation of the Racketeer Influenced and Corrupt Organizations Act
                                                                               (18 U.S.C. §§ 1961, et seq.)
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                                                                      (On Behalf of Plaintiff and the RICO Class)
                                                                       (In the Alternative to Counts I through V)

                                                   243.      Plaintiff repeats and realleges the allegations in Paragraphs 1-67 and 98-107 with

                                            the same force and effect as though fully set forth herein.

                                                   244.      Plaintiff brings this Count in the alternative to Counts I through V set forth above.

                                                                                  Class Action Allegations

                                                   245.      Plaintiff brings this Count as a Class Action on behalf of himself and the RICO

                                            Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   246.      RICO Class Definition: Plaintiff pursues the requested relief on behalf of the

                                            following RICO Class:

                                                             All individuals who (1) currently work, or have worked, for Defendants as
                                                             Servers, or any other position with similar job duties, during the applicable statute
                                                             of limitations period, and (2) received a W-2 from at least one Defendant which
                                                             (a) stated that they received a greater amount in wage income from Defendants
                                                             and tips bestowed upon them by Defendants’ customers than they actually
                                                             received in hourly compensation and Take Home Cash, and (b) was filed by said
                                                             Defendant with the United States government on or after July 19, 2014.

                                            Excluded from the RICO Class are: (1) Defendants, Defendants’ agents, subsidiaries, parents,
                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling
                                            interest, and those entities’ current and former employees, officers, and directors; (2) the Judge
                                            to whom this case is assigned and the Judge’s immediate family; (3) any person who executes
                                            and files a timely request for exclusion from the RICO Class; (4) any persons who have had their
                                            claims in this matter finally adjudicated and/or otherwise released; and (5) the legal
                                            representatives, successors and assigns of any such excluded person. Plaintiff hereby reserves
                                            the right to amend the above class definition based on discovery and the proofs at trial.

                                                   247.      Numerosity. The RICO Class is so numerous that joinder of all members is

                                            impracticable.    Plaintiff estimates that the RICO Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants
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                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of RICO Class members should be readily
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                                            available from Defendants’ personnel, scheduling, time, and payroll records maintained in

                                            accordance with 29 U.S.C. § 211(c).

                                                   248.    Commonality and Predominance. There are questions of fact or law common to

                                            the RICO Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and RICO Class members’ Paystubs and W-2s
                                                                   accurately reflected the amount of Take Home Cash that Plaintiff and
                                                                   RICO Class members were given by Defendants in connection with the
                                                                   tips that Defendants’ customers bestowed upon Plaintiff and RICO Class
                                                                   members;

                                                           b.      Whether Defendants engaged in fraud by overstating the amount of
                                                                   compensation Defendants paid to Plaintiff and RICO Class members on
                                                                   Plaintiff’s and RICO Class members’ Paystubs and W-2s;

                                                           c.      Whether Defendants willfully filed fraudulent W-2s with the United States
                                                                   government that overstated the amount of compensation Defendants paid
                                                                   to Plaintiff and RICO Class members through the mail or by wire
                                                                   transmission;

                                                           d.      Whether Defendants are part of an enterprise that engaged in a pattern of
                                                                   racketeering activity;

                                                           e.      Whether Plaintiff and the members of the RICO Class have sustained
                                                                   damages and, if so, what is the proper measure of their damages; and

                                                           f.      Whether Plaintiff and the members of the RICO Class are entitled to the
                                                                   relief sought, including attorney’s fees.

                                                   249.    Adequacy. Plaintiff will fairly and adequately protect the interests of the RICO

                                            Class. Plaintiff has retained the undersigned class counsel, who are competent and experienced in

                                            the prosecution of complex and class action litigation. The interests of Plaintiff are aligned with,

                                            and not antagonistic to, those of the RICO Class.

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                                                    250.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above
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                                            predominate over questions affecting only individual members of the RICO Class. Also, the

                                            likelihood that individual members of the RICO Class will prosecute separate actions is remote

                                            due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            RICO Class members.

                                                                                    Substantive Allegations

                                                    251.    Pursuant to the RICO statute, “any person injured in his business or property by

                                            reason of a violation of [18 U.S.C. § 1962] may sue therefor…and shall recover threefold the

                                            damages he sustains and the cost of the suit, including a reasonable attorney’s fee…” 18 U.S.C.

                                            § 1964(c).7

                                                    252.    At all relevant times, 18 U.S.C. § 1962 stated, in pertinent part:

                                                            (a) It shall be unlawful for any person who has received any income
                                                            derived, directly or indirectly, from a pattern of racketeering activity…to
                                                            use or invest, directly or indirectly, any part of such income, or the
                                                            proceeds of such income, in acquisition of any interest in, or the
                                                            establishment or operation of, any enterprise which is engaged in, or the
                                                            activities of which affect, interstate or foreign commerce…

                                                            (b) It shall be unlawful for any person through a pattern of racketeering
                                                            activity…to acquire or maintain, directly or indirectly, any interest in or
                                                            control of any enterprise which is engaged in, or the activities of which
                                                            affect, interstate or foreign commerce.

                                                            (c) It shall be unlawful for any person employed by or associated with any
                                                            enterprise engaged in, or the activities of which affect, interstate or foreign
                                                            commerce, to conduct or participate, directly or indirectly, in the conduct
                                                            of such enterprise’s affairs through a pattern of racketeering activity…

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                                              Although 18 U.S.C. § 1964(c) states that a person may file suit “in any appropriate United States district
                                            court,” the United States Supreme Court has definitively held that civil RICO claims may also be brought
                                            in state court. Tafflin v. Levitt, 493 U.S. 455, 467 (1990).
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                                                           (d) It shall be unlawful for any person to conspire to violate any of the
                                                           provisions of subsection (a), (b), or (c) of this section.
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                                                   253.    18 U.S.C. § 1961(5) defines “pattern of racketeering activity” as requiring “at

                                            least two acts of racketeering activity, one of which occurred after the effective date of this

                                            chapter and the last of which occurred within ten years…after the commission of a prior act of

                                            racketeering activity.”

                                                   254.    Relevant here, 18 U.S.C. § 1961(1) defines “racketeering activity” as “any act

                                            which is indictable under” 18 U.S.C. § 1341 (mail fraud) or 18 U.S.C. § 1343 (wire fraud). 18

                                            U.S.C. § 1961(1)(B).

                                                   255.    At all relevant times, 18 U.S.C. § 1341 made it unlawful for persons to use the

                                            United States mail to defraud persons of money or property.

                                                   256.    At all relevant times, 18 U.S.C. § 1343 made it unlawful for persons to use the

                                            wires of interstate commerce to defraud persons of money or property.

                                                   257.    All Defendants, except for the unincorporated Defendant Four Corners, are

                                            “persons,” as defined by 18 U.S.C. § 1961(3). Each of these “persons” participated in the

                                            scheme defined herein as part of the “enterprise”—as defined by 18 U.S.C. § 1961(4)—known

                                            as Four Corners.

                                                   258.    As the employers of Plaintiff and RICO Class members, Defendants issued W-2s

                                            to Plaintiff and RICO Class members on an annual basis.

                                                   259.    The particular Defendant that issued a W-2 to Plaintiff and each of the RICO

                                            Class members depended upon which Defendant was responsible for tax reporting relative to

                                            Plaintiff and each RICO Class member. Relative to Plaintiff, Defendant Wells Holdings, LLC

                                            d/b/a Benchmark Bar and Grill issued Plaintiff’s W-2s.

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                                                   260.      The W-2s issued to Plaintiff and RICO Class members by Defendants are

                                            “information returns” as defined by 26 U.S.C. § 7434(f). 26 U.S.C. § 6724(d)(1)(A); 26 CFR §
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                                            31.6051-2(a). The W-2s issued to Plaintiff and RICO Class members by Defendants are also

                                            “payee statements,” as defined by 26 U.S.C. § 6724(d)(2).

                                                   261.      For purposes of the W-2s issued by Defendants to Plaintiff and RICO Class

                                            members, the hourly compensation that Defendants paid to Plaintiff and RICO Class members,

                                            as well as the tips that Defendants’ customers bestowed upon Plaintiff and RICO Class members,

                                            constituted “wages.” 26 U.S.C. § 3121(a); 26 U.S.C. § 3401(a) & (f).

                                                   262.      Defendants calculated the “wages” on Plaintiff’s and RICO Class members’ W-2s

                                            using the information on Plaintiff’s and RICO Class members’ Paystubs from the applicable

                                            calendar year.    Put another way, the “wages” reflected on the W-2s that Defendants issued to

                                            Plaintiff and RICO Class members were derived by adding the amount of hourly compensation

                                            that Plaintiff and RICO Class members earned during the prior calendar year—as reflected

                                            Plaintiff’s and RICO Class members’ Paystubs—to the amount of “Cash Tips” stated on

                                            Plaintiff’s and RICO Class members’ Paystubs from the prior calendar year.

                                                   263.      However, the “Cash Tips” stated on Plaintiff’s and RICO Class members’

                                            Paystubs inaccurately reflected the amount of Take Home Cash that Plaintiff and RICO Class

                                            members were given by Defendants in connection with tips bestowed upon Plaintiff and RICO

                                            Class members by Defendants’ customers during their respective shifts. In actuality, Plaintiff

                                            and RICO Class members received a lesser amount in Take Home Cash in connection with tips

                                            bestowed upon them by Defendants’ customers than the amount of “Cash Tips” stated on their

                                            Paystubs.



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                                                   264.      As such, the W-2s issued by Defendants to Plaintiff and RICO Class members

                                            overstated the amount of “wages” that Plaintiff and RICO Class members earned during the prior
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                                            calendar year.

                                                   265.      Defendants filed the W-2s that they issued to Plaintiff and RICO Class members

                                            with the United States government, as required by 26 CFR § 31.6051-2(a). Defendants (1) sent

                                            the W-2s issued to Plaintiff and RICO Class members to the United States government by using

                                            the United States mail, or a private or commercial interstate carrier, and/or (2) electronically

                                            transmitted the W-2s that they issued to Plaintiff and RICO Class members to the United States

                                            government through wire transmissions in interstate commerce.

                                                   266.      Defendants knew the information on the W-2s that they issued to Plaintiff and

                                            RICO Class members was false because Plaintiff and RICO Class members accurately declared

                                            in Defendants’ POS system the amount of tips bestowed upon them by Defendants’ customers—

                                            as required by 26 U.S.C. § 6053(a) and 26 CFR § 31.6053-1(a)—and Defendants had a duty to

                                            keep accurate records relative to the amount of tips declared by Plaintiff and RICO Class

                                            members in Defendants’ POS system—as required by 26 CFR § 31.6001-1(a).

                                                   267.      Plaintiff and RICO Class members reasonably believed that the information in the

                                            W-2s issued by Defendants was accurate, and relied upon that information, because Defendants

                                            had a duty to file correct information returns with the United States government—pursuant to 26

                                            U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish Plaintiff and RICO Class

                                            members with correct payee statements—pursuant to 26 U.S.C. § 6722(a)(2)(B) and 26 CFR

                                            301.6722-1. Plaintiff and RICO Class members also reasonably believed that the information in

                                            the W-2s and Paystubs issued by Defendants was accurate, and relied upon that information,

                                            because Defendants had a duty to keep accurate records relative to the amount of tips declared by

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                                            Plaintiff and RICO Class members in Defendants’ POS system—pursuant to 26 CFR § 31.6001-

                                            1(a). Indeed, unlike Defendants, there is no mandatory recordkeeping requirement imposed on
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                                            Plaintiff and RICO Class members. 26 CFR § 31.6001-1(d). Moreover, “the fact that the [W-2s

                                            were] filed for public record amounts to…a guarantee” that the W-2s were accurate. Lehmann,

                                            137 Ill.App.3d at 421.

                                                   268.   For the same reasons, Defendants knew and intended that Plaintiff and RICO

                                            Class members would rely on the information in the W-2s and Paystubs issued by Defendants.

                                                   269.   Accordingly, in filing the W-2s issued by Defendants to Plaintiff and RICO Class

                                            members—which contained incorrect information as to the amount of “wages” Plaintiff and

                                            RICO Class members earned—Defendants filed fraudulent information returns with the United

                                            States government through the mail or by wire transmission.

                                                   270.   The particular Defendant that filed a fraudulent W-2 issued to Plaintiff and each

                                            of the RICO Class members depended upon which Defendant was responsible for tax reporting

                                            relative to Plaintiff and each RICO Class member.      Relative to Plaintiff, Defendant Wells

                                            Holdings, LLC d/b/a Benchmark Bar and Grill filed the fraudulent W-2s with the United States

                                            government through the mail or by wire transmission.

                                                   271.   On information and belief, Defendants’ filing of the fraudulent W-2s that they

                                            issued to Plaintiff and RICO Class members was part of a willful scheme to shift the burden of

                                            paying taxes to Plaintiff and RICO Class members so that Defendants could covertly retain

                                            income without paying taxes, or avoid paying the minimum hourly rate of pay under applicable

                                            minimum wage laws.

                                                   272.   For example, by overstating the amount of tip income that Defendants gave to

                                            Plaintiff and RICO Class members from Defendants’ gross receipts, Defendants can

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                                            concomitantly understate the amount of net income Defendants generated after those amounts

                                            are deducted. To demonstrate, if one of Defendants’ customers was charged $100 for a meal, and
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                                            left an additional $20 as a tip for his/her Server, Defendants’ gross income would be $120, and

                                            Defendants’ net income would be $100 for that customer. However, if Defendants report that the

                                            customer’s Server received a $40 tip from the customer, Defendants can report net income of

                                            $80, while still reporting gross income of $120. In this scenario, the Server would be required to

                                            pay taxes on $40 of income, even though he/she only received $20, whereas Defendants would

                                            only be required to pay taxes on $80 of net income, even though they would have actually

                                            received $100.8

                                                    273.    As another example, by overstating the amount of money that Defendants gave to

                                            Plaintiff and RICO Class members, Defendants can ensure that they can always avail themselves

                                            of a tip credit with respect to the compensation paid to Plaintiff and RICO Class members, and

                                            do not have to pay Plaintiff and RICO Class members for any shortfall in the hourly rate of pay.

                                            In doing so, Defendants reduce their operating costs, and can therefore retain a greater portion of

                                            their gross income for their own benefit.

                                                    274.    Although the precise mechanism by which Defendants benefitted from these

                                            practices is unknown, it can be proven through discovery after a review of Defendants’ internal

                                            records and financial statements.

                                                    275.    In light of the foregoing, Defendants committed mail fraud as defined in 18

                                            U.S.C. § 1341 and/or wire fraud as defined in 18 U.S.C. § 1343 by engaging in a scheme to file

                                            fraudulent W-2s issued by Defendants to Plaintiff and RICO Class members with the United

                                            States government through the mail or by wire transmission in order to covertly retain income

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                                             The fact that Four Corners is composed of over 20 different, interconnected entities would also facilitate
                                            Defendants’ concealing the precise amount of net income they received in a calendar year.
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                                            without paying taxes, or avoid paying the minimum hourly rate of pay under applicable

                                            minimum wage laws.
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                                                      276.   Defendants plotted and conspired to work together to defraud Plaintiff and RICO

                                            Class members (and potentially the United States government), and used the money illegally

                                            obtained in their scheme to continue their businesses and operations.

                                                      277.   Because the amount of “wages” stated on the W-2s issued by Defendants to

                                            Plaintiff and RICO Class members overstated the amount of “wages” that Plaintiff and RICO

                                            Class members actually earned during the prior calendar year, Plaintiff and RICO Class members

                                            were required to pay income tax on income that they did not actually receive.

                                                      278.   As a direct and proximate result of the foregoing, Plaintiff and RICO Class

                                            members were harmed by Defendants’ conduct described herein because they were required to

                                            pay a greater amount in income tax than they otherwise should have been, had their W-2s been

                                            accurate.

                                                      279.   Pursuant to 18 U.S.C. § 1964(c), Plaintiff and RICO Class members are entitled

                                            to three times the damages they sustained as a result of Defendants’ illegal conduct described

                                            herein.

                                                      280.   Plaintiff and RICO Class members are also entitled to reasonable attorneys’ fees

                                            and costs, pursuant to 18 U.S.C. § 1964(c).

                                                      WHEREFORE, Plaintiff, individually, and on behalf of the RICO Class, prays for an

                                            Order as follows:

                                                             A.     Finding that this action satisfies the prerequisites for maintenance as a
                                                                    Class Action, as set forth by 735 ILCS 5/2-801, and certifying the RICO
                                                                    Class defined herein;



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                                                           B.      Designating Plaintiff as representative of the RICO Class and his
                                                                   undersigned counsel as RICO Class Counsel;
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                                                           C.      Entering judgment in favor of Plaintiff and the RICO Class and against
                                                                   Defendants;

                                                           D.      Awarding Plaintiff and the RICO Class an amount equal to three times the
                                                                   damages they sustained as a result of Defendants’ illegal conduct;

                                                           E.      Awarding Plaintiff and the RICO Class reasonable attorneys’ fees and
                                                                   costs; and

                                                           F.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.

                                                                                     COUNT VIII
                                                                                   Civil Conspiracy
                                                                   (On Behalf of Plaintiff and the Conspiracy Class)
                                                                      (In the Alternative to Counts I through V)

                                                   281.    Plaintiff repeats and realleges the allegations in Paragraphs 1-67 and 98-107 with

                                            the same force and effect as though fully set forth herein.

                                                   282.    Plaintiff brings this Count in the alternative to Counts I through V set forth above.

                                                                                 Class Action Allegations

                                                   283.    Plaintiff brings this Count as a Class Action on behalf of himself and the

                                            Conspiracy Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   284.    Conspiracy Class Definition: Plaintiff pursues the requested relief on behalf of

                                            the following Conspiracy Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, during the applicable statute
                                                           of limitations period, and (2) received a W-2 from at least one Defendant which
                                                           (a) stated that they received a greater amount in wage income from Defendants
                                                           and tips bestowed upon them by Defendants’ customers than they actually
                                                           received in hourly compensation and Take Home Cash, and (b) was filed by said
                                                           Defendant with the United States government on or after July 19, 2013.



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                                            Excluded from the Conspiracy Class are: (1) Defendants, Defendants’ agents, subsidiaries,
                                            parents, successors, predecessors, and any entity in which Defendants or their parents have a
                                            controlling interest, and those entities’ current and former employees, officers, and directors; (2)
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                                            the Judge to whom this case is assigned and the Judge’s immediate family; (3) any person who
                                            executes and files a timely request for exclusion from the Conspiracy Class; (4) any persons who
                                            have had their claims in this matter finally adjudicated and/or otherwise released; and (5) the
                                            legal representatives, successors and assigns of any such excluded person. Plaintiff hereby
                                            reserves the right to amend the above class definition based on discovery and the proofs at trial.

                                                   285.    Numerosity. The Conspiracy Class is so numerous that joinder of all members is

                                            impracticable. Plaintiff estimates that the Conspiracy Class, including both current and former

                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of Conspiracy Class members should be

                                            readily available from Defendants’ personnel, scheduling, time, and payroll records maintained

                                            in accordance with 29 U.S.C. § 211(c).

                                                   286.    Commonality and Predominance. There are questions of fact or law common to

                                            the Conspiracy Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                           a.      Whether Plaintiff’s and Conspiracy Class members’ Paystubs and W-2s
                                                                   accurately reflected the amount of Take Home Cash that Plaintiff and
                                                                   Conspiracy Class members were given by Defendants in connection with
                                                                   the tips that Defendants’ customers bestowed upon Plaintiff and
                                                                   Conspiracy Class members;

                                                           b.      Whether Defendants engaged in fraud by overstating the amount of
                                                                   compensation Defendants paid to Plaintiff and Conspiracy Class members
                                                                   on Plaintiff’s and Conspiracy Class members’ Paystubs and W-2s;

                                                           c.      Whether Defendants willfully filed fraudulent W-2s with the United States
                                                                   government that overstated the amount of compensation Defendants paid
                                                                   to Plaintiff and Conspiracy Class members;


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                                                           d.     Whether Defendants conspired to covertly retain income without paying
                                                                  taxes, or avoid paying the minimum hourly rate of pay under applicable
                                                                  minimum wage laws;
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                                                           e.     Whether Plaintiff and the members of the Conspiracy Class have sustained
                                                                  damages and, if so, what is the proper measure of their damages; and

                                                           f.     Whether Plaintiff and the members of the Conspiracy Class are entitled to
                                                                  the relief sought, including attorney’s fees.

                                                   287.    Adequacy.     Plaintiff will fairly and adequately protect the interests of the

                                            Conspiracy Class. Plaintiff has retained the undersigned class counsel, who are competent and

                                            experienced in the prosecution of complex and class action litigation. The interests of Plaintiff

                                            are aligned with, and not antagonistic to, those of the Conspiracy Class.

                                                   288.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the Conspiracy Class. Also,

                                            the likelihood that individual members of the Conspiracy Class will prosecute separate actions is

                                            remote due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            Conspiracy Class members.

                                                                                 Substantive Allegations

                                                   289.    “The elements of a civil conspiracy are: (1) a combination of two or more

                                            persons, (2) for the purpose of accomplishing by some concerted action either an unlawful

                                            purpose or a lawful purpose by unlawful means, (3) in the furtherance of which one of the

                                            conspirators committed an overt tortious or unlawful act.” E.g., Fritz v. Johnston, 209 Ill.2d 302,

                                            317 (2004).



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                                                   290.   As the employers of Plaintiff and Conspiracy Class members, Defendants issued

                                            W-2s to Plaintiff and Conspiracy Class members on an annual basis.
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                                                   291.   The particular Defendant that issued a W-2 to Plaintiff and each of the Conspiracy

                                            Class members depended upon which Defendant was responsible for tax reporting relative to

                                            Plaintiff and each Conspiracy Class member. Relative to Plaintiff, Defendant Wells Holdings,

                                            LLC d/b/a Benchmark Bar and Grill issued Plaintiff’s W-2s.

                                                   292.   The W-2s issued to Plaintiff and Conspiracy Class members by Defendants are

                                            “information returns” as defined by 26 U.S.C. § 7434(f). 26 U.S.C. § 6724(d)(1)(A); 26 CFR §

                                            31.6051-2(a). The W-2s issued to Plaintiff and Conspiracy Class members by Defendants are

                                            also “payee statements,” as defined by 26 U.S.C. § 6724(d)(2).

                                                   293.   For purposes of the W-2s issued by Defendants to Plaintiff and Conspiracy Class

                                            members, the hourly compensation that Defendants paid to Plaintiff and Conspiracy Class

                                            members, as well as the tips that Defendants’ customers bestowed upon Plaintiff and Conspiracy

                                            Class members, constituted “wages.” 26 U.S.C. § 3121(a); 26 U.S.C. § 3401(a) & (f).

                                                   294.   Defendants calculated the “wages” on Plaintiff’s and Conspiracy Class members’

                                            W-2s using the information on Plaintiff’s and Conspiracy Class members’ Paystubs from the

                                            applicable calendar year. Put another way, the “wages” reflected on the W-2s that Defendants

                                            issued to Plaintiff and Conspiracy Class members were derived by adding the amount of hourly

                                            compensation that Plaintiff and Conspiracy Class members earned during the prior calendar

                                            year—as reflected Plaintiff’s and Conspiracy Class members’ Paystubs—to the amount of “Cash

                                            Tips” stated on Plaintiff’s and Conspiracy Class members’ Paystubs from the prior calendar year.

                                                   295.   However, the “Cash Tips” stated on Plaintiff’s and Conspiracy Class members’

                                            Paystubs inaccurately reflected the amount of Take Home Cash that Plaintiff and Conspiracy

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                                            Class members were given by Defendants in connection with tips bestowed upon Plaintiff and

                                            Conspiracy Class members by Defendants’ customers during their respective shifts. In actuality,
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                                            Plaintiff and Conspiracy Class members received a lesser amount in Take Home Cash in

                                            connection with tips bestowed upon them by Defendants’ customers than the amount of “Cash

                                            Tips” stated on their Paystubs.

                                                   296.    As such, the W-2s issued by Defendants to Plaintiff and Conspiracy Class

                                            members overstated the amount of “wages” that Plaintiff and Conspiracy Class members earned

                                            during the prior calendar year.

                                                   297.    Defendants filed the W-2s that they issued to Plaintiff and Conspiracy Class

                                            members with the United States government, as required by 26 CFR § 31.6051-2(a).

                                                   298.    Defendants knew the information on the W-2s that they issued to Plaintiff and

                                            Conspiracy Class members was false because Plaintiff and Conspiracy Class members accurately

                                            declared in Defendants’ POS system the amount of tips bestowed upon them by Defendants’

                                            customers—as required by 26 U.S.C. § 6053(a) and 26 CFR § 31.6053-1(a)—and Defendants

                                            had a duty to keep accurate records relative to the amount of tips declared by Plaintiff and

                                            Conspiracy Class members in Defendants’ POS system—as required by 26 CFR § 31.6001-1(a).

                                                   299.    Plaintiff and Conspiracy Class members reasonably believed that the information

                                            in the W-2s issued by Defendants was accurate, and relied upon that information, because

                                            Defendants had a duty to file correct information returns with the United States government—

                                            pursuant to 26 U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish Plaintiff and

                                            Conspiracy Class members with correct payee statements—pursuant to 26 U.S.C. §

                                            6722(a)(2)(B) and 26 CFR 301.6722-1. Plaintiff and Conspiracy Class members also reasonably

                                            believed that the information in the W-2s and Paystubs issued by Defendants was accurate, and

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                                            relied upon that information, because Defendants had a duty to keep accurate records relative to

                                            the amount of tips declared by Plaintiff and Conspiracy Class members in Defendants’ POS
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                                            system—pursuant to 26 CFR § 31.6001-1(a). Indeed, unlike Defendants, there is no mandatory

                                            recordkeeping requirement imposed on Plaintiff and Conspiracy Class members. 26 CFR §

                                            31.6001-1(d). Moreover, “the fact that the [W-2s were] filed for public record amounts to…a

                                            guarantee” that the W-2s were accurate. Lehmann, 137 Ill.App.3d at 421.

                                                   300.   For the same reasons, Defendants knew and intended that Plaintiff and

                                            Conspiracy Class members would rely on the information in the W-2s and Paystubs issued by

                                            Defendants.

                                                   301.   Accordingly, in filing the W-2s issued by Defendants to Plaintiff and Conspiracy

                                            Class members—which contained incorrect information as to the amount of “wages” Plaintiff

                                            and Conspiracy Class members earned—Defendants filed fraudulent information returns with the

                                            United States government in violation of 26 U.S.C. § 7434(a).

                                                   302.   The particular Defendant that filed a fraudulent W-2 issued to Plaintiff and each

                                            of the Conspiracy Class members depended upon which Defendant was responsible for tax

                                            reporting relative to Plaintiff and each Conspiracy Class member.         Relative to Plaintiff,

                                            Defendant Wells Holdings, LLC d/b/a Benchmark Bar and Grill filed the fraudulent W-2s with

                                            the United States government.

                                                   303.   On information and belief, Defendants’ filing of the fraudulent W-2s issued to

                                            Plaintiff and Conspiracy Class members was part of a willful scheme to shift the burden of

                                            paying taxes to Plaintiff and Conspiracy Class members so that Defendants could covertly retain

                                            income without paying taxes, or avoid paying the minimum hourly rate of pay under applicable

                                            minimum wage laws.

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                                                    304.    For example, by overstating the amount of tip income that Defendants gave to

                                            Plaintiff and Conspiracy Class members from Defendants’ gross receipts, Defendants can
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                                            concomitantly understate the amount of net income Defendants generated after those amounts

                                            are deducted. To demonstrate, if one of Defendants’ customers was charged $100 for a meal, and

                                            left an additional $20 as a tip for his/her Server, Defendants’ gross income would be $120, and

                                            Defendants’ net income would be $100 for that customer. However, if Defendants report that the

                                            customer’s Server received a $40 tip from the customer, Defendants can report net income of

                                            $80, while still reporting gross income of $120. In this scenario, the Server would be required to

                                            pay taxes on $40 of income, even though he/she only received $20, whereas Defendants would

                                            only be required to pay taxes on $80 of net income, even though they would have actually

                                            received $100.9

                                                    305.    As another example, by overstating the amount of money that Defendants gave to

                                            Plaintiff and Conspiracy Class members, Defendants can ensure that they can always avail

                                            themselves of a tip credit with respect to the compensation paid to Plaintiff and Conspiracy Class

                                            members, and do not have to pay Plaintiff and Conspiracy Class members for any shortfall in the

                                            hourly rate of pay. In doing so, Defendants reduce their operating costs, and can therefore retain

                                            a greater portion of their gross income for their own benefit.

                                                    306.    Although the precise mechanism by which Defendants benefitted from these

                                            practices is unknown, it can be proven through discovery after a review of Defendants’ internal

                                            records and financial statements.




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                                             The fact that Four Corners is composed of over 20 different, interconnected entities would also facilitate
                                            Defendants’ concealing the precise amount of net income they received in a calendar year.
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                                                   307.    Defendants plotted and conspired to work together to defraud Plaintiff and

                                            Conspiracy Class members (and potentially the United States government), and used the money
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                                            illegally obtained in their scheme to continue their businesses and operations.

                                                   308.    Because the amount of “wages” stated on the W-2s issued by Defendants to

                                            Plaintiff and Conspiracy Class members overstated the amount of “wages” that Plaintiff and

                                            Conspiracy Class members actually earned during the prior calendar year, Plaintiff and

                                            Conspiracy Class members were required to pay income tax on income that they did not actually

                                            receive.

                                                   309.    As a direct and proximate result of the foregoing, Plaintiff and Conspiracy Class

                                            members were harmed by Defendants’ conduct described herein because they were required to

                                            pay a greater amount in income tax than they otherwise should have been, had their W-2s been

                                            accurate.

                                                   310.    Accordingly, Plaintiff, individually, and on behalf of the Conspiracy Class, seeks

                                            damages arising from Defendants’ conduct described herein.

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Conspiracy Class, prays for

                                            an Order as follows:

                                                           A.      Finding that this action satisfies the prerequisites for maintenance as a
                                                                   Class Action, as set forth by 735 ILCS 5/2-801, and certifying the
                                                                   Conspiracy Class defined herein;

                                                           B.      Designating Plaintiff as representative of the Conspiracy Class and his
                                                                   undersigned counsel as Conspiracy Class Counsel;

                                                           C.      Entering judgment in favor of Plaintiff and the Conspiracy Class and
                                                                   against Defendants;

                                                           D.      Awarding Plaintiff and the Conspiracy Class an amount equal to the
                                                                   damages they sustained as a result of Defendants’ illegal conduct;


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                                                           E.      Awarding Plaintiff and the Conspiracy Class reasonable attorneys’ fees
                                                                   and costs; and
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                                                           F.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.

                                                                                      COUNT IX
                                                                                         Fraud
                                                                      (On Behalf of Plaintiff and the Fraud Class)
                                                                       (In the Alternative to Counts I through V)

                                                   311.    Plaintiff repeats and realleges the allegations in Paragraphs 1-67 and 98-107 with

                                            the same force and effect as though fully set forth herein.

                                                   312.    Plaintiff brings this Count in the alternative to Counts I through V set forth above.

                                                                                 Class Action Allegations

                                                   313.    Plaintiff brings this Count as a Class Action on behalf of himself and the Fraud

                                            Class of similarly situation employees, pursuant to 735 ILCS 5/2-801.

                                                   314.    Fraud Class Definition: Plaintiff pursues the requested relief on behalf of the

                                            following Fraud Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, during the applicable statute
                                                           of limitations period, and (2) received a W-2 from at least one Defendant which
                                                           (a) stated that they received a greater amount in wage income from Defendants
                                                           and tips bestowed upon them by Defendants’ customers than they actually
                                                           received in hourly compensation and Take Home Cash, and (b) was filed by said
                                                           Defendant with the United States government on or after July 19, 2013.

                                            Excluded from the Fraud Class are: (1) Defendants, Defendants’ agents, subsidiaries, parents,
                                            successors, predecessors, and any entity in which Defendants or their parents have a controlling
                                            interest, and those entities’ current and former employees, officers, and directors; (2) the Judge
                                            to whom this case is assigned and the Judge’s immediate family; (3) any person who executes
                                            and files a timely request for exclusion from the Fraud Class; (4) any persons who have had their
                                            claims in this matter finally adjudicated and/or otherwise released; and (5) the legal
                                            representatives, successors and assigns of any such excluded person. Plaintiff hereby reserves
                                            the right to amend the above class definition based on discovery and the proofs at trial.



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                                                   315.      Numerosity. The Fraud Class is so numerous that joinder of all members is

                                            impracticable.        Plaintiff estimates that the Fraud Class, including both current and former
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                                            employees over the time period relevant to this action, will include hundreds of members. This

                                            is based on the fact that Defendants operated approximately twenty (20) bars and restaurants

                                            during the time period applicable to this action, and each bar and restaurant employed about fifty

                                            (50) Servers at any given time. The precise number of Fraud Class members should be readily

                                            available from Defendants’ personnel, scheduling, time, and payroll records maintained in

                                            accordance with 29 U.S.C. § 211(c).

                                                   316.      Commonality and Predominance. There are questions of fact or law common to

                                            the Fraud Class, which predominate over any questions affecting only individual members

                                            including, inter alia, the following:

                                                             a.        Whether Plaintiff’s and Fraud Class members’ Paystubs and W-2s
                                                                       accurately reflected the amount of Take Home Cash that Plaintiff and
                                                                       Fraud Class members were given by Defendants in connection with the
                                                                       tips that Defendants’ customers bestowed upon Plaintiff and Fraud Class
                                                                       members;

                                                             b.        Whether Defendants knew that the amounts stated on Plaintiff’s and Fraud
                                                                       Class members’ Paystubs and W-2s inaccurately reflected the amount of
                                                                       compensation Defendants paid to Plaintiff and Fraud Class members;

                                                             c.        Whether Defendants knew and intended that Plaintiff and Fraud Class
                                                                       members would rely on the amounts stated on Plaintiff’s and Fraud Class
                                                                       members’ Paystubs and W-2s;

                                                             d.        Whether Plaintiff and Fraud Class members relied on the amounts stated
                                                                       on Plaintiff’s and Fraud Class members’ Paystubs and W-2s;

                                                             e.        Whether Plaintiff and the members of the Fraud Class have sustained
                                                                       damages and, if so, what is the proper measure of their damages; and

                                                             f.        Whether Plaintiff and the members of the Fraud Class are entitled to the
                                                                       relief sought, including attorney’s fees.


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                                                   317.    Adequacy. Plaintiff will fairly and adequately protect the interests of the Fraud

                                            Class. Plaintiff has retained the undersigned class counsel, who are competent and experienced in
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                                            the prosecution of complex and class action litigation. The interests of Plaintiff are aligned with,

                                            and not antagonistic to, those of the Fraud Class.

                                                   318.    Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above

                                            predominate over questions affecting only individual members of the Fraud Class. Also, the

                                            likelihood that individual members of the Fraud Class will prosecute separate actions is remote

                                            due to the extensive time and considerable expense necessary to conduct such litigation,

                                            especially in view of the relatively modest amount of monetary relief at issue for individual

                                            Fraud Class members.

                                                                                 Substantive Allegations

                                                   319.    “The elements of common law fraud are: (1) a false statement of material fact; (2)

                                            defendant’s knowledge that the statement was false; (3) defendant’s intent that the statement

                                            induce the plaintiff to act; (4) plaintiff’s reliance upon the truth of the statement; and (5)

                                            plaintiff’s damages resulting from reliance on the statement.” E.g., Connick v. Suzuki Motor Co.,

                                            Ltd., 174 Ill.2d 482, 496 (1996).

                                                   320.    As the employers of Plaintiff and Fraud Class members, Defendants issued W-2s

                                            to Plaintiff and Fraud Class members on an annual basis.

                                                   321.    The particular Defendant that issued a W-2 to Plaintiff and each of the Fraud

                                            Class members depended upon which Defendant was responsible for tax reporting relative to

                                            Plaintiff and each Fraud Class member. Relative to Plaintiff, Defendant Wells Holdings, LLC

                                            d/b/a Benchmark Bar and Grill issued Plaintiff’s W-2s.

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                                                   322.      The W-2s issued to Plaintiff and Fraud Class members by Defendants are

                                            “information returns” as defined by 26 U.S.C. § 7434(f). 26 U.S.C. § 6724(d)(1)(A); 26 CFR §
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                                            31.6051-2(a). The W-2s issued to Plaintiff and Fraud Class members by Defendants are also

                                            “payee statements,” as defined by 26 U.S.C. § 6724(d)(2).

                                                   323.      For purposes of the W-2s issued by Defendants to Plaintiff and Fraud Class

                                            members, the hourly compensation that Defendants paid to Plaintiff and Fraud Class members,

                                            as well as the tips that Defendants’ customers bestowed upon Plaintiff and Fraud Class members,

                                            constituted “wages.” 26 U.S.C. § 3121(a); 26 U.S.C. § 3401(a) & (f).

                                                   324.      Defendants calculated the “wages” on Plaintiff’s and Fraud Class members’ W-2s

                                            using the information on Plaintiff’s and Fraud Class members’ Paystubs from the applicable

                                            calendar year.    Put another way, the “wages” reflected on the W-2s that Defendants issued to

                                            Plaintiff and Fraud Class members were derived by adding the amount of hourly compensation

                                            that Plaintiff and Fraud Class members earned during the prior calendar year—as reflected

                                            Plaintiff’s and Fraud Class members’ Paystubs—to the amount of “Cash Tips” stated on

                                            Plaintiff’s and Fraud Class members’ Paystubs from the prior calendar year.

                                                   325.      However, the “Cash Tips” stated on Plaintiff’s and Fraud Class members’

                                            Paystubs inaccurately reflected the amount of Take Home Cash that Plaintiff and Fraud Class

                                            members were given by Defendants in connection with tips bestowed upon Plaintiff and Fraud

                                            Class members by Defendants’ customers during their respective shifts. In actuality, Plaintiff

                                            and Fraud Class members received a lesser amount in Take Home Cash in connection with tips

                                            bestowed upon them by Defendants’ customers than the amount of “Cash Tips” stated on their

                                            Paystubs.



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                                                   326.      As such, the W-2s issued by Defendants to Plaintiff and Fraud Class members

                                            overstated the amount of “wages” that Plaintiff and Fraud Class members earned during the prior
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                                            calendar year.

                                                   327.      Defendants filed the W-2s that they issued to Plaintiff and Fraud Class members

                                            with the United States government, as required by 26 CFR § 31.6051-2(a).

                                                   328.      Defendants knew the information on the W-2s that they issued to Plaintiff and

                                            Fraud Class members was false because Plaintiff and Fraud Class members accurately declared

                                            in Defendants’ POS system the amount of tips bestowed upon them by Defendants’ customers—

                                            as required by 26 U.S.C. § 6053(a) and 26 CFR § 31.6053-1(a)—and Defendants had a duty to

                                            keep accurate records relative to the amount of tips declared by Plaintiff and Fraud Class

                                            members in Defendants’ POS system—as required by 26 CFR § 31.6001-1(a).

                                                   329.      Plaintiff and Fraud Class members reasonably believed that the information in the

                                            W-2s issued by Defendants was accurate, and relied upon that information, because Defendants

                                            had a duty to file correct information returns with the United States government—pursuant to 26

                                            U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish Plaintiff and Fraud Class

                                            members with correct payee statements—pursuant to 26 U.S.C. § 6722(a)(2)(B) and 26 CFR

                                            301.6722-1. Plaintiff and Fraud Class members also reasonably believed that the information in

                                            the W-2s and Paystubs issued by Defendants was accurate, and relied upon that information,

                                            because Defendants had a duty to keep accurate records relative to the amount of tips declared by

                                            Plaintiff and Fraud Class members in Defendants’ POS system—pursuant to 26 CFR § 31.6001-

                                            1(a). Indeed, unlike Defendants, there is no mandatory recordkeeping requirement imposed on

                                            Plaintiff and Fraud Class members. 26 CFR § 31.6001-1(d). Moreover, “the fact that the [W-2s



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                                            were] filed for public record amounts to…a guarantee” that the W-2s were accurate. Lehmann,

                                            137 Ill.App.3d at 421.
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                                                   330.   For the same reasons, Defendants knew and intended that Plaintiff and Fraud

                                            Class members would rely on the information in the W-2s and Paystubs issued by Defendants.

                                                   331.   Accordingly, in filing the W-2s issued by Defendants to Plaintiff and Fraud Class

                                            members—which contained incorrect information as to the amount of “wages” Plaintiff and

                                            Fraud Class members earned—Defendants filed fraudulent information returns with the United

                                            States government in violation of 26 U.S.C. § 7434(a).

                                                   332.   The particular Defendant that filed a fraudulent W-2 issued to Plaintiff and each

                                            of the Fraud Class members depended upon which Defendant was responsible for tax reporting

                                            relative to Plaintiff and each Fraud Class member.       Relative to Plaintiff, Defendant Wells

                                            Holdings, LLC d/b/a Benchmark Bar and Grill filed the fraudulent W-2s with the United States

                                            government.

                                                   333.   On information and belief, Defendants’ filing of the fraudulent W-2s that they

                                            issued to Plaintiff and Fraud Class members was part of a willful scheme to shift the burden of

                                            paying taxes to Plaintiff and Fraud Class members so that Defendants could covertly retain

                                            income without paying taxes, or avoid paying the minimum hourly rate of pay under applicable

                                            minimum wage laws.

                                                   334.   For example, by overstating the amount of tip income that Defendants gave to

                                            Plaintiff and Fraud Class members from Defendants’ gross receipts, Defendants can

                                            concomitantly understate the amount of net income Defendants generated after those amounts

                                            are deducted. To demonstrate, if one of Defendants’ customers was charged $100 for a meal, and

                                            left an additional $20 as a tip for his/her Server, Defendants’ gross income would be $120, and

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                                            Defendants’ net income would be $100 for that customer. However, if Defendants report that the

                                            customer’s Server received a $40 tip from the customer, Defendants can report net income of
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                                            $80, while still reporting gross income of $120. In this scenario, the Server would be required to

                                            pay taxes on $40 of income, even though he/she only received $20, whereas Defendants would

                                            only be required to pay taxes on $80 of net income, even though they would have actually

                                            received $100.10

                                                     335.   As another example, by overstating the amount of money that Defendants gave to

                                            Plaintiff and Fraud Class members, Defendants can ensure that they can always avail themselves

                                            of a tip credit with respect to the compensation paid to Plaintiff and Fraud Class members, and

                                            do not have to pay Plaintiff and Fraud Class members for any shortfall in the hourly rate of pay.

                                            In doing so, Defendants reduce their operating costs, and can therefore retain a greater portion of

                                            their gross income for their own benefit.

                                                     336.   Although the precise mechanism by which Defendants benefitted from these

                                            practices is unknown, it can be proven through discovery after a review of Defendants’ internal

                                            records and financial statements.

                                                     337.   Because the amount of “wages” stated on the W-2s issued by Defendants to

                                            Plaintiff and Fraud Class members overstated the amount of “wages” that Plaintiff and Fraud

                                            Class members actually earned during the prior calendar year, Plaintiff and Fraud Class members

                                            were required to pay income tax on income that they did not actually receive. Accordingly,

                                            Defendants’ misrepresentations on the W-2s that they issued to Plaintiff and Fraud Class

                                            members were material.



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                                               The fact that Four Corners is composed of over 20 different, interconnected entities would also
                                            facilitate Defendants’ concealing the precise amount of net income they received in a calendar year.
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                                                   338.    As a direct and proximate result of the foregoing, Plaintiff and Fraud Class

                                            members were harmed by Defendants’ conduct described herein because they were required to
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                                            pay a greater amount in income tax than they otherwise should have been, had their W-2s been

                                            accurate.

                                                   339.    Accordingly, Plaintiff, individually, and on behalf of the Fraud Class, seeks

                                            damages arising from Defendants’ conduct described herein.

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Fraud Class, prays for an

                                            Order as follows:

                                                           A.      Finding that this action satisfies the prerequisites for maintenance as a
                                                                   Class Action, as set forth by 735 ILCS 5/2-801, and certifying the Fraud
                                                                   Class defined herein;

                                                           B.      Designating Plaintiff as representative of the Fraud Class and his
                                                                   undersigned counsel as Fraud Class Counsel;

                                                           C.      Entering judgment in favor of Plaintiff and the Fraud Class and against
                                                                   Defendants;

                                                           D.      Awarding Plaintiff and the Fraud Class an amount equal to the damages
                                                                   they sustained as a result of Defendants’ fraudulent conduct, plus punitive
                                                                   damages;

                                                           E.      Awarding Plaintiff and the Fraud Class reasonable attorneys’ fees and
                                                                   costs; and

                                                           F.      Granting all such further and other relief as the Court deems just and
                                                                   appropriate.

                                                                                       COUNT X
                                                                             Negligent Misrepresentation
                                                          (On Behalf of Plaintiff and the Negligent Misrepresentation Class)
                                                                     (In the Alternative to Counts I through V)

                                                   340.    Plaintiff repeats and realleges the allegations in Paragraphs 1-67 and 98-107 with

                                            the same force and effect as though fully set forth herein.

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                                                   341.    Plaintiff brings this Count in the alternative to Counts I through V set forth above.

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                                                   342.    Plaintiff brings this Count as a Class Action on behalf of himself and the

                                            Negligent Misrepresentation Class of similarly situation employees, pursuant to 735 ILCS 5/2-

                                            801.

                                                   343.    Negligent Misrepresentation Class Definition: Plaintiff pursues the requested

                                            relief on behalf of the following Negligent Misrepresentation Class:

                                                           All individuals who (1) currently work, or have worked, for Defendants as
                                                           Servers, or any other position with similar job duties, during the applicable statute
                                                           of limitations period, and (2) received a W-2 from at least one Defendant which
                                                           (a) stated that they received a greater amount in wage income from Defendants
                                                           and tips bestowed upon them by Defendants’ customers than they actually
                                                           received in hourly compensation and Take Home Cash, and (b) was filed by said
                                                           Defendant with the United States government on or after July 19, 2013.

                                            Excluded from the Negligent Misrepresentation Class are: (1) Defendants, Defendants’ agents,
                                            subsidiaries, parents, successors, predecessors, and any entity in which Defendants or their
                                            parents have a controlling interest, and those entities’ current and former employees, officers,
                                            and directors; (2) the Judge to whom this case is assigned and the Judge’s immediate family; (3)
                                            any person who executes and files a timely request for exclusion from the Negligent
                                            Misrepresentation Class; (4) any persons who have had their claims in this matter finally
                                            adjudicated and/or otherwise released; and (5) the legal representatives, successors and assigns
                                            of any such excluded person. Plaintiff hereby reserves the right to amend the above class
                                            definition based on discovery and the proofs at trial.

                                                   344.    Numerosity. The Negligent Misrepresentation Class is so numerous that joinder

                                            of all members is impracticable. Plaintiff estimates that the Negligent Misrepresentation Class,

                                            including both current and former employees over the time period relevant to this action, will

                                            include hundreds of members. This is based on the fact that Defendants operated approximately

                                            twenty (20) bars and restaurants during the time period applicable to this action, and each bar

                                            and restaurant employed about fifty (50) Servers at any given time. The precise number of

                                            Negligent Misrepresentation Class members should be readily available from Defendants’

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                                            personnel, scheduling, time, and payroll records maintained in accordance with 29 U.S.C. §

                                            211(c).
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                                                      345.   Commonality and Predominance. There are questions of fact or law common to

                                            the Negligent Misrepresentation Class, which predominate over any questions affecting only

                                            individual members including, inter alia, the following:

                                                             a.    Whether Plaintiff’s and Negligent Misrepresentation Class members’
                                                                   Paystubs and W-2s accurately reflected the amount of Take Home Cash
                                                                   that Plaintiff and Negligent Misrepresentation Class members were given
                                                                   by Defendants in connection with the tips that Defendants’ customers
                                                                   bestowed upon Plaintiff and Negligent Misrepresentation Class members;

                                                             b.    Whether Defendants knew, or should have known, that the amounts stated
                                                                   on Plaintiff’s and Negligent Misrepresentation Class members’ Paystubs
                                                                   and W-2s inaccurately reflected the amount of compensation Defendants
                                                                   paid to Plaintiff and Negligent Misrepresentation Class members;

                                                             c.    Whether Defendants knew and intended that Plaintiff and Negligent
                                                                   Misrepresentation Class members would rely on the amounts stated on
                                                                   Plaintiff’s and Negligent Misrepresentation Class members’ Paystubs and
                                                                   W-2s;

                                                             d.    Whether Plaintiff and Negligent Misrepresentation Class members relied
                                                                   on the amounts stated on Plaintiff’s and Negligent Misrepresentation Class
                                                                   members’ Paystubs and W-2s;

                                                             e.    Whether Plaintiff and the members of the Negligent Misrepresentation
                                                                   Class have sustained damages and, if so, what is the proper measure of
                                                                   their damages; and

                                                             f.    Whether Plaintiff and the members of the Negligent Misrepresentation
                                                                   Class are entitled to the relief sought, including attorney’s fees.

                                                      346.   Adequacy.   Plaintiff will fairly and adequately protect the interests of the

                                            Negligent Misrepresentation Class. Plaintiff has retained the undersigned class counsel, who are

                                            competent and experienced in the prosecution of complex and class action litigation. The

                                            interests of Plaintiff are aligned with, and not antagonistic to, those of the Negligent

                                            Misrepresentation Class.
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                                                     347.   Appropriateness. A class action is an appropriate method for the fair and efficient

                                            adjudication of this controversy. The common questions of law and fact enumerated above
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                                            predominate     over    questions    affecting   only    individual    members     of    the   Negligent

                                            Misrepresentation Class.       Also, the likelihood that individual members of the Negligent

                                            Misrepresentation Class will prosecute separate actions is remote due to the extensive time and

                                            considerable expense necessary to conduct such litigation, especially in view of the relatively

                                            modest amount of monetary relief at issue for individual Negligent Misrepresentation Class

                                            members.

                                                                                   Substantive Allegations

                                                     348.   “The tort of negligent misrepresentation involves a breach of the duty to use due

                                            care in obtaining and communicating information upon which others may reasonably be

                                            expected to rely in the conduct of their economic affairs.” E.g., Lehmann, 137 Ill.App.3d at 420;

                                            Mid-Am. Nat. Bank of Chicago v. First Sav. & Loan Ass’n of S. Holland, 161 Ill.App.3d 531, 535

                                            (1st Dist. 1987). A claim for “negligent misrepresentation has essentially the same elements [as

                                            a claim for fraud],11 except that the defendant’s mental state is different. The defendant need not

                                            know that the statement is false. His own carelessness or negligence in ascertaining its truth will

                                            suffice for a cause of action.” Bd. of Educ. of City of Chicago v. A, C & S, Inc., 131 Ill.2d 428,

                                            452 (1989); Avon Hardware Co. v. Ace Hardware Corp., 2013 IL App (1st) 130750, ¶ 15. In

                                            addition, “for negligent misrepresentation, a plaintiff must also allege that the defendant owes a

                                            duty to the plaintiff to communicate accurate information.” A, C & S, 131 Ill.2d at 452; Avon

                                            Hardware, 2013 IL App (1st) 130750 at ¶ 15; Kupper v. Powers, 2017 IL App (3d) 160141, ¶ 40.

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                                              As set forth in Paragraph 319, “the elements of common law fraud are: (1) a false statement of material
                                            fact; (2) defendant’s knowledge that the statement was false; (3) defendant’s intent that the statement
                                            induce the plaintiff to act; (4) plaintiff’s reliance upon the truth of the statement; and (5) plaintiff’s
                                            damages resulting from reliance on the statement.” E.g., Connick, 174 Ill.2d at 496.
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                                                   349.     A duty to communicate accurate information can be created by statute. Lehmann,

                                            137 Ill.App.3d at 421 (Negligent misrepresentation “can result from the failure to provide
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                                            adequate information when there is a [statutory] duty to provide such information as well as

                                            providing information which is false.”); Mid-Am. Nat. Bank, 161 Ill.App.3d at 535 (same);

                                            Stewart v. Thrasher, 242 Ill.App.3d 10, 15 (4th Dist. 1993) (“A plaintiff [can] recover economic

                                            losses resulting from the negligent misrepresentation of one under a public duty to provide

                                            information.”); see also, Kupper, 2017 IL App (3d) 160141 at ¶ 41 (explaining Lehmann).

                                                   350.     As the employers of Plaintiff and Negligent Misrepresentation Class members,

                                            Defendants issued W-2s to Plaintiff and Negligent Misrepresentation Class members on an

                                            annual basis.

                                                   351.     The particular Defendant that issued a W-2 to Plaintiff and each of the Negligent

                                            Misrepresentation Class members depended upon which Defendant was responsible for tax

                                            reporting relative to Plaintiff and each Negligent Misrepresentation Class member. Relative to

                                            Plaintiff, Defendant Wells Holdings, LLC d/b/a Benchmark Bar and Grill issued Plaintiff’s W-2s.

                                                   352.     The W-2s issued to Plaintiff and Negligent Misrepresentation Class members by

                                            Defendants are “information returns” as defined by 26 U.S.C. § 7434(f).            26 U.S.C. §

                                            6724(d)(1)(A); 26 CFR § 31.6051-2(a).           The W-2s issued to Plaintiff and Negligent

                                            Misrepresentation Class members by Defendants are also “payee statements,” as defined by 26

                                            U.S.C. § 6724(d)(2).

                                                   353.     For purposes of the W-2s issued by Defendants to Plaintiff and Negligent

                                            Misrepresentation Class members, the hourly compensation that Defendants paid to Plaintiff and

                                            Negligent Misrepresentation Class members, as well as the tips that Defendants’ customers



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                                            bestowed upon Plaintiff and Negligent Misrepresentation Class members, constituted “wages.”

                                            26 U.S.C. § 3121(a); 26 U.S.C. § 3401(a) & (f).
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                                                    354.   Defendants calculated the “wages” on Plaintiff’s and Negligent Misrepresentation

                                            Class members’ W-2s using the information on Plaintiff’s and Negligent Misrepresentation Class

                                            members’ Paystubs from the applicable calendar year.     Put another way, the “wages” reflected

                                            on the W-2s that Defendants issued to Plaintiff and Negligent Misrepresentation Class members

                                            were derived by adding the amount of hourly compensation that Plaintiff and Negligent

                                            Misrepresentation Class members earned during the prior calendar year—as reflected Plaintiff’s

                                            and Negligent Misrepresentation Class members’ Paystubs—to the amount of “Cash Tips” stated

                                            on Plaintiff’s and Negligent Misrepresentation Class members’ Paystubs from the prior calendar

                                            year.

                                                    355.   However, the “Cash Tips” stated on Plaintiff’s and Negligent Misrepresentation

                                            Class members’ Paystubs inaccurately reflected the amount of Take Home Cash that Plaintiff

                                            and Negligent Misrepresentation Class members were given by Defendants in connection with

                                            tips bestowed upon Plaintiff and Negligent Misrepresentation Class members by Defendants’

                                            customers during their respective shifts. In actuality, Plaintiff and Negligent Misrepresentation

                                            Class members received a lesser amount in Take Home Cash in connection with tips bestowed

                                            upon them by Defendants’ customers than the amount of “Cash Tips” stated on their Paystubs.

                                                    356.   As such, the W-2s issued by Defendants to Plaintiff and Negligent

                                            Misrepresentation Class members overstated the amount of “wages” that Plaintiff and Negligent

                                            Misrepresentation Class members earned during the prior calendar year.




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                                                   357.     Defendants filed the W-2s that they issued to Plaintiff and Negligent

                                            Misrepresentation Class members with the United States government, as required by 26 CFR §
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                                            31.6051-2(a).

                                                   358.     Defendants had a duty to file correct information returns with the United States

                                            government—pursuant to 26 U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish

                                            Plaintiff and Negligent Misrepresentation Class members with correct payee statements—

                                            pursuant to 26 U.S.C. § 6722(a)(2)(B) and 26 CFR 301.6722-1.

                                                   359.     As such, Defendants had a duty to communicate accurate information in the W-2s

                                            that they issued to Plaintiff and Negligent Misrepresentation Class members because “statutes

                                            requiring information to be filed for public record…create a duty to members of the public” to

                                            provide accurate information. Lehmann, 137 Ill.App.3d at 419; Stewart, 242 Ill.App.3d at 15;

                                            Kupper, 2017 IL App (3d) 160141 at ¶ 41.

                                                   360.     Defendants knew, or should have known, that the information on the W-2s that

                                            they issued to Plaintiff and Negligent Misrepresentation Class members was false because

                                            Plaintiff and Negligent Misrepresentation Class members accurately declared in Defendants’

                                            POS system the amount of tips bestowed upon them by Defendants’ customers—as required by

                                            26 U.S.C. § 6053(a) and 26 CFR § 31.6053-1(a)—and Defendants had a duty to keep accurate

                                            records relative to the amount of tips declared by Plaintiff and Negligent Misrepresentation Class

                                            members in Defendants’ POS system—as required by 26 CFR § 31.6001-1(a).

                                                   361.     Plaintiff and Negligent Misrepresentation Class members reasonably believed that

                                            the information in the W-2s issued by Defendants was accurate, and relied upon that information,

                                            because Defendants had a duty to file correct information returns with the United States

                                            government—pursuant to 26 U.S.C. § 6721(a)(2)(B) and 26 CFR 301.6721-1—and to furnish

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                                            Plaintiff and Negligent Misrepresentation Class members with correct payee statements—

                                            pursuant to 26 U.S.C. § 6722(a)(2)(B) and 26 CFR 301.6722-1.           Plaintiff and Negligent
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                                            Misrepresentation Class members also reasonably believed that the information in the W-2s and

                                            Paystubs issued by Defendants was accurate, and relied upon that information, because

                                            Defendants had a duty to keep accurate records relative to the amount of tips declared by

                                            Plaintiff and Negligent Misrepresentation Class members in Defendants’ POS system—pursuant

                                            to 26 CFR § 31.6001-1(a). Indeed, unlike Defendants, there is no mandatory recordkeeping

                                            requirement imposed on Plaintiff and Negligent Misrepresentation Class members. 26 CFR §

                                            31.6001-1(d). Moreover, “the fact that the [W-2s were] filed for public record amounts to…a

                                            guarantee” that the W-2s were accurate. Lehmann, 137 Ill.App.3d at 421.

                                                   362.   For the same reasons, Defendants knew and intended that Plaintiff and Negligent

                                            Misrepresentation Class members would rely on the information in the W-2s and Paystubs issued

                                            by Defendants.

                                                   363.   Accordingly, in filing the W-2s issued by Defendants to Plaintiff and Negligent

                                            Misrepresentation Class members, Defendants negligently misrepresented information—i.e., the

                                            amount of “wages” Plaintiff and Negligent Misrepresentation Class members earned—that

                                            Defendants had a duty to accurately communicate.

                                                   364.   The particular Defendant that negligently misrepresented information—i.e., the

                                            amount of “wages” Plaintiff and Negligent Misrepresentation Class members earned—to

                                            Plaintiff and Negligent Misrepresentation Class members depended upon which Defendant was

                                            responsible for tax reporting relative to Plaintiff and each Negligent Misrepresentation Class

                                            member. Relative to Plaintiff, Defendant Wells Holdings, LLC d/b/a Benchmark Bar and Grill

                                            negligently misrepresented information concerning the amount of “wages” that Plaintiff earned.

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                                                   365.    Because the amount of “wages” stated on the W-2s issued by Defendants to

                                            Plaintiff and Negligent Misrepresentation Class members overstated the amount of “wages” that
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                                            Plaintiff and Negligent Misrepresentation Class members actually earned during the prior

                                            calendar year, Plaintiff and Negligent Misrepresentation Class members were required to pay

                                            income tax on income that they did not actually receive.                  Accordingly, Defendants’

                                            misrepresentations on the W-2s that they issued to Plaintiff and Negligent Misrepresentation

                                            Class members were material.

                                                   366.    As a direct and proximate result of the foregoing, Plaintiff and Negligent

                                            Misrepresentation Class members were harmed by Defendants’ conduct described herein because

                                            they were required to pay a greater amount in income tax than they otherwise should have been,

                                            had their W-2s been accurate.

                                                   367.    Accordingly,     Plaintiff,   individually,   and   on   behalf    of   the   Negligent

                                            Misrepresentation Class, seeks damages arising from Defendants’ conduct described herein.

                                                   WHEREFORE, Plaintiff, individually, and on behalf of the Negligent Misrepresentation

                                            Class, prays for an Order as follows:

                                                           A.     Finding that this action satisfies the prerequisites for maintenance as a
                                                                  Class Action, as set forth by 735 ILCS 5/2-801, and certifying the
                                                                  Negligent Misrepresentation Class defined herein;

                                                           B.     Designating Plaintiff as representative of the Negligent Misrepresentation
                                                                  Class and his undersigned counsel as Negligent Misrepresentation Class
                                                                  Counsel;

                                                           C.     Entering judgment in favor of Plaintiff                    and   the   Negligent
                                                                  Misrepresentation Class and against Defendants;

                                                           D.     Awarding Plaintiff and the Negligent Misrepresentation Class an amount
                                                                  equal to the damages they sustained as a result of Defendants’ negligent
                                                                  conduct;

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                                                        E.      Awarding Plaintiff and the Negligent Misrepresentation Class reasonable
                                                                attorneys’ fees and costs; and
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                                                        F.      Granting all such further and other relief as the Court deems just and
                                                                appropriate.



                                                                                   JURY DEMAND

                                                 Plaintiff demands trial by jury on all issues so triable.



                                                                                        Plaintiff ERIK LUNA, individually, and on behalf
                                                                                        of all others similarly situated,


                                                                                        By:     /s/ Thomas A. Zimmerman, Jr.
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                                                                                        Counsel for Plaintiff, the putative Collective Group,
                                                                                        and the putative Classes




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                                            EXHIBIT 1
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                                            EXHIBIT 2
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                                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                                              COUNTY DEPARTMENT – CHANCERY DIVISION

                                            ERIK LUNA, individually, and on behalf of all
                                                                                     )
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                                            others similarly situated,               )
                                                                                     )
                                                                  Plaintiff,         )
                                                                                     )
                                                  vs.                                )               No.
                                                                                     )
                                            4C KINZIE INVESTOR LLC d/b/a Highline )
                                            Bar & Lounge, et al.,                    )
                                                                                     )
                                                                  Defendants.        )
                                            ________________________________________ )


                                                                 CONSENT TO BECOME A PARTY PLAINTIFF


                                                   I, Erik Luna, formerly an employee of one or more of the above-captioned Defendants,

                                            consent to become a party Plaintiff in the above-captioned action.




                                            Dated: _____________________                           __________________________________
                                                                                                        Signature of Former Employee




                                            EXHIBIT 3
